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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                      CIVIL ACTION

VERSUS                                                                        NO. 12-1924

CITY OF NEW ORLEANS                                                           SECTION: “E” (2)


                                    ORDER AND REASONS

         “The Court approved the joint motion of the City and DOJ for entry of the New

Orleans Police Department's Consent Decree on January 11th, 2013. In the order

approving the Consent Decree, the Court specifically retained jurisdiction to enforce the

Consent Decree until the final remedy contemplated by the Consent Decree has been

achieved.”1

         On July 21, 2023, the Court issued a Rule to Show Cause (“Rule”) why the City of

New Orleans (“City”) should not be found to have violated eight provisions of the Consent

Decree with respect to the conduct of Public Integrity Bureau (“PIB”) investigations and

two provisions of the Consent Decree regarding timeliness of investigations, imposition

of discipline, and notifications to complainants.2

         The City filed Objections to the Rule.3 The United States Department of Justice

(“DOJ”) filed a Memorandum of Law in Opposition to the City of New Orleans’ Objections

to the Rule.4 The Court overruled the City’s objections and scheduled the hearing on the

Rule.5



1 R. Doc. 159 at 8.
2 R. Doc. 729.
3 R. Doc. 734. Although the City captioned the pleading as “objections,” the City makes only one objection—

that the Court has amended the Consent Decree by making a material change to its terms.
4 R. Doc. 735.
5 R. Doc. 739.




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        The Court held a hearing on the Rule on August 31, September 5, and September

6, 2023. The Court heard testimony from Captain Kendrick C. Allen, Lt. Lawrence Jones,

Deputy Superintendent Lawrence Dupree, Deputy Superintendent Keith Sanchez, and

Deputy Superintendent Nicholas Gernon. City Exhibits 1, 2, 3, 6, 7, 17, 11, 10, 15, 18, and

19 were admitted into evidence; DOJ Exhibits 23, 24, 25-39, and 41 were admitted into

evidence; and the Court’s Exhibit 40 was admitted into evidence.6

        Prior to the hearing, the City produced documents on August 28, 2023,7 August

29, 2023,8 and September 1, 2023.9 The DOJ produced documents on August 29, 2023.10

        The Court now issues its Order and Reasons on the Rule to Show Cause.11

                                   SUMMARY OF FINDINGS

        Having considered the evidence presented by the parties and their arguments in

their pre-hearing briefs and at the hearing, the Court finds that the City of New Orleans

has failed to show cause why it should not be found to have violated Paragraphs 399, 415,

414, 413, 454, 470, 472, 409, 419, 306, and 313 of the Consent Decree having to do with

the conduct of PIB investigations, and Paragraphs 403 and 420 regarding timeliness of

investigations, imposition of discipline, and notification of complainants. As discussed in

greater detail below, the Court finds as follows:

                 The disciplinary investigation of Officer Vappie was not conducted in the
                  same manner as other investigations and was not conducted in accordance
                  with NOPD Policies.




6 R. Docs. 748, 750, and 751.
7 R. Doc. 743.
8 R. Doc. 746.
9 R. Doc. 749.
10 R. Doc. 747.
11 The Court relies on documents admitted into evidence at the hearing or appearing otherwise in the record.




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               The NOPD violated Paragraph 399 of the Consent Decree by failing to
                accurately and completely record all allegations against Officer Jeffrey
                Vappie in PIB CTN# 2022-0513-R.12

               The NOPD violated Paragraph 415 of the Consent Decree by failing to
                explicitly identify and recommend a disposition for each allegation against
                Officer Jeffrey Vappie.

               The NOPD violated Paragraph 414 of the Consent Decree by failing to
                document that the resolution of the misconduct complaint was based upon
                the preponderance of the evidence.

               The NOPD violated Paragraph 413 of the Consent Decree by failing to give
                meaningful consideration to circumstantial evidence available to the PIB
                investigators that could have suggested to a reasonable person that Officer
                Vappie charged the NOPD for time not worked.

               The NOPD violated Paragraph 454 of the Consent Decree by refusing to
                provide a copy of the PIB investigation report in PIB CTN# 2022-0513-R to
                the Monitor so the Monitor could review and timely provide
                recommendations as required by the Consent Decree.

               The NOPD violated Paragraphs 470 and 472 of the Consent Decree by
                refusing to produce non-privileged documents reasonably requested by the
                Monitoring Team.

               The NOPD violated Paragraph 409 and 419 of the Consent Decree by failing
                to take reasonable measures to protect the confidentiality of its
                investigatory materials.

               The NOPD violated Paragraphs 306 and 313 of the Consent Decree by
                failing to undertake a reasonable effort to assess the culpability of
                supervisors and failing to hold supervisors accountable for their
                actions/inactions where appropriate.

               The NOPD violated Paragraphs 403 and 420 of the Consent Decree by
                failing to conduct its administrative investigations in a timely manner,
                failing to impose discipline in a timely manner, and failing to keep
                complainants apprised of the status of their complaints in a timely manner.


12 PIB uses a standard formulation to identify complaints, called a PIB Complaint Tracking Number, or PIB

CTN#. NOPD Policy 52.1.1 explains that the PIB CTN is a “unique number assigned by PIB Intake to each
complaint received and entered on the Complaint Form and all documents associated with intake,
classification, investigation and adjudication of the complaint. The CTN includes the year the complaint
was filed followed by a four digit sequential number starting with 0001 for the first recorded allegation of
the year, followed by an alpha character indicating the source of the complaint (i.e., P = public; R = rank).
For example, 2014-0001 P would identify the first complaint received in 2014 and indicate it was filed by a
member of the public.” See NOPD Policy 52.1.1.


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       While a one-time transgression of any one of these Consent Decree provisions

would not typically warrant a show cause hearing and a formal finding of non-compliance,

the facts in this instance are unprecedented in that (i) the City and the NOPD refuse to

acknowledge any non-compliance, which suggests the non-compliant behavior will

continue, (ii) the City’s witnesses suggest (and sometime outright state) they intend to

continue the non-compliant practices, and (iii) some of the identified non-compliant

practices have been ongoing for an extended period of time. Further, the haphazard

manner in which the City produced documents to the Court, the multiple unsupported

statements made by the City’s counsel in the City’s briefs and at this Court’s various

hearings, and the unsupported statements made by several City witnesses during the

hearing, do nothing to convince the Court the City is committed to remediating the

multiple non-compliant practices identified by the Monitor, the DOJ, and this Court.

       In the face of these facts, the Court has the inherent power to impose sanctions

upon the City. In the normal course, such sanctions could include, but need not be limited

to, financial penalties. As explained herein, however, prior to the issuance of this Order,

newly confirmed NOPD Superintendent Anne Kirkpatrick submitted to the Court a

Remedial Action Plan, attached hereto as Attachment 1, that reflects a meaningful effort

to remediate the multiple non-compliant practices identified by the Court. Accordingly,

the Court will defer any imposition of sanctions to give the NOPD time to demonstrate it

has implemented its Remedial Action Plan.

                                    BACKGROUND

       The Court’s July 21, 2023 Rule to Show Cause followed an NOPD Public Integrity

Bureau (“PIB”) investigation (designated PIB CTN# 2022-0513-R) into and report on




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Officer Jeffrey Vappie,13 as well as two reports by the Consent Decree monitors,14 and an

in-court status conference on Thursday, June 21, 202.15 At the in-court status conference,

the Monitor emphasized that the Monitor’s work was not a review of Officer Vappie, but

a “review of PIB’s processes and procedures and how PIB undertook the investigation.”16

        The Monitor’s reports and the in-court status conference focused on PIB's

compliance with the Consent Decree, specifically as PIB performed the Officer Jeffrey

Vappie investigation. The Monitor has presented substantial evidence of numerous

Consent Decree violations by the City in the course of PIB's investigation. The Monitor

presented evidence that the City and NOPD have violated paragraphs 399, 415, 414, 413,

454, 470, 472, 409, 419, 306, and 313 of the Consent Decree having to do with the conduct

of PIB investigations, and paragraphs 403 and 420 regarding timeliness of investigations,

imposition of discipline, and notification of complainants.

        In its order, dated October 21, 2023, the Court explained that NOPD has

steadfastly denied that it violated the Consent Decree in any way during the Officer Vappie

investigation and as proof has asserted that the Officer Vappie investigation proceeded in

just the same manner as any other investigation. PIB has repeatedly represented that it

handles all investigations the same way it handled the Officer Vappie investigation and

that it intends to continue to do so. Apparently, this is true even though the Monitor has

raised legitimate concerns that PIB’s actions during the course of that investigation

violated the Consent Decree.




13 R. Doc. 714-4.
14 R. Docs. 694 (Ex. 25) and 714 (Ex. 26).
15 R. Doc. 719.
16 R. Doc. 726 at 7.




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         This is troubling because the violations identified by the Monitor involve core

components of the reform of PIB, such as including all factual allegations in the complaint

intake form, fully investigating and reaching a disposition on all factual allegations,

applying the preponderance of evidence standard to all of its findings, considering all

evidence, including circumstantial evidence, and making credibility assessments of all

witnesses.

         The importance of these issues strikes at the core of the Consent Decree as it

extends far beyond the significance of the Officer Vappie investigation. In fact, in its 2011

report on its investigation of the New Orleans Police Department, which led to the entry

of the Consent Decree, DOJ cited long-standing and entrenched practices of the NOPD

and structural deficiencies in its systems and operations, importantly including its failure

to fully investigate allegations of misconduct as justification for the entry of the Consent

Decree.17

         The City's failure (until the recent submission by Superintendent Kirkpatrick) to

take advantage of the Court’s invitation to demonstrate that the violations identified by

the Monitor have been or are being remediated, coupled with the City’s statements that

PIB intends to continue conducting investigations in the same way it conducted the

Officer Vappie investigation, raised the Court's legitimate concern, and that concern led

to the entry of the Rule to Show Cause requiring the City to show cause why it should not

be found to have violated the Consent Decree.




17 R. Doc. 1-1.




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I.        PIB’s Failings With Respect To The Officer Vappie Investigation
          Involve Core Components Of The Consent Decree And Justified The
          Court’s Entry Of The Rule To Show Cause.

          Throughout this matter, the City has contended that NOPD did not treat Officer

Vappie any differently from the way it would treat any other officer going through a PIB

investigation.18 The evidence tells a different story.

          A.      Officer Vappie was Sent To Work At The Orleans Parish
                  Communications District, But No Other Officer On
                  Administrative Reassignment Has Been Sent There Since 2016.

          PIB opened the administrative investigation into the allegations against Officer

Vappie on November 9, 2022.19 On the same day, Officer Vappie was reassigned from the

Mayor’s Executive Protection team to NOPD’s Field Operations Bureau. 20 The

reassignment notice instructed Officer Vappie to report to NOPD Headquarters at 750

Broad Street in plain clothes the next day.21 Instead of working at Headquarters, however,

Officer Vappie actually reported to the Orleans Parish Communications District

(“OPCD”)(also known as the 911 call center), a separate entity which is not a part of the

City or the NOPD.22

          At this Court’s in-court status conference on June 21, 2023, counsel for the City

represented to the Court that it is a routine practice of NOPD to assign officers to OPCD

while they are on administrative leave pending a PIB administrative investigation. 23

Specifically, counsel for the City represented the following:



18 R. Doc. 754 (Transcript) at 41; R. Doc. 718 at 23.
19 R. Doc. 747-1 at 1.
20 R. Doc. 740-1 at 15 (Ex. 1 at NOPD_0002772).
21 Id.
22 R. Doc. 753 (Transcript) at 117. Captain Kendrick Allen testified he learned Officer Vappie was at OPCD

when he had to go there to get Officer Vappie’s city-owned cell phone. Deputy Superintendent Keith
Sanchez testified that he was aware of no other officers under investigation since his appointment in
October 2022 who worked at the OPCD while they were reassigned.
23 R. Doc. 726 (Transcript) at 85-86.




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                 All I know is that [the OPCD] is one place that they will often
                 send officers that are on off-assignment section until they
                 figure out if they can get back to their bureau or not.24

The City’s counsel could not identify the support for this statement.25

          In response to this Court’s order that the City produce the documents evidencing

this “routine practice,” 26 the City produced documents purportedly supporting the

statement. Rather than supporting the City’s representations, however, the documents

produced by the City demonstrate that no NOPD officer other than Officer Vappie has

been sent to work at OPCD since the consolidation of all emergency call center services in

2016.27

          Not only was Officer Vappie given an unprecedented reassignment in an agency

outside the NOPD, the City claims not to have a single piece of paper documenting that

move and has been unable to identify the individual who authorized it.28 In contrast, the

City was able to produce documentation for Officer Vappie’s other administrative

transfers.29

          B.     NOPD Attempted To Prematurely Reassign Officer Vappie To The
                 Executive Protection Detail Before The PIB Investigation Was
                 Complete.

          Also on the topic of favorable treatment, the Monitor in its February 17, 2023

Immediate Action Notice to Deputy Superintendent Keith Sanchez expressed concern

that, in late December 2022, NOPD outgoing Superintendent Shaun Ferguson directed

the return of Officer Vappie to the Mayor’s security detail. 30 This statement by the


24 Id.
25 Id.
26 R. Doc. 729 at 8.
27 R. Doc. 753 (Transcript) at 14-15.
28 R. Doc. 753 (Transcript) at 23-24.
29 See, e.g., R. Doc. 740-1 (Ex. 1); R. Doc. 740-8 at 207 (Ex. 7 at NOPD_0005373).
30 R. Doc. 714-3 at 4.




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Monitor prompted a vitriolic response from the City. In one court filing, for example, the

City described the Monitor’s statement as an “erroneous conspiracy theory about

reinstating Officer Vappie to the Mayors EP team.” 31 Calling the statement by the

Monitor “untrue,” the City publicly alleged that the Monitor was attempting to “drive the

outcome of the PIB investigation of Officer Vappie to a specific, public result.”32

         At the Show Cause hearing, however, the City’s witnesses told a very different story

from the one asserted by the City’s lawyers. Indeed, the City’s witnesses confirmed the

details shared by the Monitor regarding the attempt to reinstate Officer Vappie to the

Executive Protection team prior to the conclusion of the PIB investigation and the efforts

taken by several members of the NOPD leadership team to prevent that from happening.33

In short, there was an attempt to prematurely reassign Officer Vappie to the Executive

Protection team. The City’s own witnesses refute the accusations made by the City’s

lawyers against the Monitor.




31 R. Doc. 716-3 at 31.
32 Id. at 18.
33 R. Doc. 754 (Transcript) at 110. Deputy Superintendent Dupree testified regarding the December 2022

effort to reassign Officer Vappie to Executive Protection as follows: “Well, I don't know what led to it
happening. But I know I was not in agreement with returning Officer Vappie to his former assignment, and
I was aware that he was still under administrative investigation. So I put a stop to it since that was my
option.” With regard to how Chief Dupree learned of the reinstatement attempt, he had this to say: “Well,
first, I found out in roundabout ways that the potential was that he, Officer Vappie, was being returned to
Executive Protection. And it's clear on the form that he was being returned to full duty. So with that, the
normal process is that the form would be given to Officer Vappie, and then Officer Vappie would notify his
sergeant, Sergeant Lane. And so I just simply interrupted that process and pumped the brakes before
Sergeant Lane has to make a decision she is not comfortable with which she later indicated. I actually just
made the decision for her and for the department.” Chief Dupree went on to explain why the effort to
reinstate Officer Vappie may have occurred on December 21, 2022; “So without speculation, but bringing
truth to the obvious, obviously, that was former Superintendent Ferguson's last day at work. So that could
be the most obvious as to what was going on. I'm not going to be naive about that by it being his last day.
And I do want to correct something. I couldn't make the ultimate decision to stop it. Superintendent
Woodfork had to ultimately stop it which she did. So what was going on December 21st, Superintendent
Ferguson's last day.” Id. at 111. Likewise, Deputy Superintendent Sanchez testified that he reached out to
the Monitor following Superintendent Ferguson’s direction to take Officer Vappie off reassignment because
he (Deputy Superintendent Sanchez) had “concerns” about Officer Vappie going back to Executive
Protection. R. Doc. 752 (Transcript) at 20-21.


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          C.    The Allegation That Officer Vappie Committed Payroll Fraud
                Was Not Recorded Or Investigated.

          The undocumented assignment of Officer Vappie to OPCD and the foiled effort to

reinstate Officer Vappie to the Executive Protection team prior to the conclusion of the

PIB investigation were not the only indicia of favorable treatment toward Officer Vappie

revealed at the Show Cause hearing.

          On December 12, 2022, PIB received a citizen complaint forwarded by the Office

of the Independent Police Monitor “OIPM” alleging misconduct by multiple members of

the Executive Protection Team, including Officer Vappie. 34 PIB logged the complaint

under PIB CTN# 2022-0566-P. Specifically, the complaint alleged that the members of

the Executive Protection Team were recording “unreasonable and improbable” hours, in

other words that they were recording time not actually worked.35 The OIPM36 and the

NOPD investigator37 characterized the complaint as one alleging payroll fraud.

          When it came time to investigate PIB CTN# 2022-0566-P, however, the NOPD

investigator excluded Officer Vappie from his investigation, noting that the investigation

into Officer Vappie “will be conducted under PIB CTN# 2022-[0513] -R.”38 As testified to

by the PIB investigators in the PIB CTN# 2022-0513-R matter, however, Officer Vappie

was not investigated for payroll fraud under PIB CTN# 2022-0513-R.39




34 R. Doc. 740-1 at 97-102 (Ex. 3 at NOPD_0002859-2864).
35 Id.
36 R. Doc. 740-7 at 9 (NOPD_0004604) (12/12/22 Letter from OIPM to Deputy Superintendent Sanchez).
37 R. Doc. 740-2 at 118 (NOPD_0003469) (Letter from Sgt. Schuler to Ms. Trepagnier); see also R. Doc.

740-1 at 309 (NOPD_0003071).
38 R. Doc. 740-1 at 3 (Ex. 1 at NOPD_0002760). The investigation report actually refers to 2022-0559. A

PIB quality control reviewer noticed the typographical mistake and subsequently corrected it to 2022-0513-
R. See R. Doc. 740-1 at 227 (Ex. 34 at NOPD_0002989).
39 See, e.g., R. Doc. 718-3 at 3 (“To be clear, at no time was Officer Vappie under investigation for Payroll

fraud….”).


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         A few months later, PIB received another citizen complaint against Officer Vappie

from the OIPM.40 This complaint, logged under number PIB CTN# 2023-0141-P, alleged

criminal payroll fraud against Officer Vappie. 41 PIB closed this matter without

investigation, again explaining Officer Vappie already had been investigated for the same

violations under PIB CTN# 2022-0513.42 Yet, as noted above, the investigators in PIB

CTN# 2022-0513-R did not investigate Officer Vappie for payroll fraud. Deputy

Superintendent Keith Sanchez admitted at the hearing on the Rule to Show Cause that he

never informed the Officer Vappie complainants of the disposition of their complaints in

PIB CTN# 2022-0566-P or PIB CTN# 2022-0513-R.43

         In short, PIB excluded Officer Vappie from the PIB CTN# 2022-0566-P

investigation and did not pursue the PIB CTN# 2023-0141-P investigation because,

purportedly, those investigations duplicated the PIB CTN# 2022-0513-R investigation,

but the City’s witnesses have confirmed Officer Vappie was not investigated for payroll

fraud as part of the PIB CTN# 2022-0513-R investigation. There is a troubling circularity

to PIB’s reasoning, which, as with the inexplicable and undocumented reassignment of

Officer Vappie to the OPCD, gives the Court no assurance that the City’s position that

Officer Vappie “was treated just like everyone else” is accurate.




40 See R. Doc. 740-2.
41 See R. Doc. 752 (Transcript) at 136; see also Hearing Ex. 35. Notwithstanding the City’s position
throughout this matter that the allegations against Officer Vappie could not conceivably be seen as payroll
fraud, it turns out the NOPD had in its hands two additional complaints against Officer Vappie alleging
similar, if not the same, facts that the NOPD did in fact record as payroll fraud allegations. See PIB CTN#
2022-0566-P and PIB CTN# 2023-0141-P. The United States brought this troubling fact to the fore during
its cross examination of the Deputy Superintendent of PIB “Q . So since March 17, 2023, and this entire
time we have been arguing about this issue, you had an affirmative duty, because this is serious misconduct,
as you said, to give it to the Court Monitor, but you didn't give it to him, right? A. We did not give it to the
Court Monitor. That is correct.” R. Doc. 752 (Transcript) at 138-39.
42 R. Doc. 752 (Transcript) at 145.
43 R. Doc. 752 (Transcript) at 119, 123, and 194-195.




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         D.      PIB’s Failure To Consider Requesting Officer Vappie’s Personal
                 Cell Phone Was a Violation of NOPD Policy.

         In its June 15, 2023 analysis of PIB’s investigation of Officer Vappie (PIB CTN#

2022-00513-R), the Monitor criticized PIB for failing to make an effort to secure Officer

Vappie’s personal cell phone.44 The Monitor put its concern this way:

                 Soon after the launch of the Vappie investigation, it became
                 clear Officer Vappie may have been communicating with the
                 Mayor or the Mayor’s staff via cell phone. Consequently, PIB
                 secured Officer Vappie’s work phone. However, a forensic
                 analysis of the work phone failed to turn up relevant texts,
                 emails, or voicemails. Yet, clearly, considering the extensive
                 hours Officer Vappie spent in the Upper Pontalba apartment
                 both on and off the clock, Officer Vappie and the Mayor’s
                 office must have been corresponding somehow. The most
                 likely vehicle for such frequent communications, if not Officer
                 Vappie’s work phone, must be Officer Vappie’s personal cell
                 phone. The evidence on his personal phone (e.g., texts,
                 locations, voicemails, etc.) could have been relevant to
                 support or rebut Officer Vappie’s testimony regarding what he
                 was doing while spending so many hours in the Upper
                 Pontalba apartment both on and off the clock.

The Monitor went on to explain that

                 [R]eviewing the content of that phone could have supported
                 Officer Vappie’s statement that he was working while in the
                 Upper Pontalba apartment. It also could have countered
                 Officer Vappie’s statement. Either way, the information on the
                 personal phone would have been relevant to PIB’s
                 investigation.

Notwithstanding the likelihood of evidence on Officer Vappie’s personal cell phone, PIB

refused not only to require the production of the cellphone, but even to request the

voluntary production of the cell phone.45

         The United States expressed similar frustration over PIB’s refusal to even request

access to Officer Vappie’s personal cell phone during the hearing on the Rule:


44 R. Doc. 714-5 at 15-16.
45 Id. at 16.




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                    [C]ircumstantial evidence was not considered because NOPD
                    did not voluntarily -- ask for a voluntary provision of Officer
                    Vappie's personal cell phone. And then, after asserting, we can
                    get that information from the interviews, and asserting, again,
                    in the written response, but we got all that information in
                    interviews, they didn't even ask in the interviews, what was on
                    the phone, will you give us the phone, did you text on that
                    phone, did you send pictures on that phone, did you
                    communicate by that phone, did you do scheduling with the
                    Mayor's scheduler on that phone, did you conduct any official
                    business at all on that phone. They didn't ask those questions,
                    and, therefore, they didn't establish the basis needed to obtain
                    a warrant for the phone . . . .46

The United States likens the failure to even ask for the personal cell phone to “voluntarily

turning one’s head away and not even asking the important questions that are required to

understand what is the circumstantial evidence in this investigation . . . .”47

        The NOPD concedes it did not ask Officer Vappie for access to his phone. 48

According to then-Interim Superintendent Michelle Woodfork, NOPD found “no legal,

fair, or reasonable basis” for obtaining the phone. 49 Former Interim Superintendent

Woodfork opined further that obtaining the phone was prohibited by the Fourth

Amendment since the complaint was only that Officer Vappie “may have violated the

16.35-hour rule”50 and the PIB purportedly was able to gather all the evidence it needed



46 R. Doc. 752 (Transcript) at 291.
47 Id. at 291-92.
48 R. Doc. 752 (Transcript) at 109.
49 R. Doc. 714-6 at 3.
50 There has been much discussion throughout this matter about the “16 hour 35 minute” rule. The rule

limits the number of hours (combining scheduled work, overtime, detail hours, and outside employment)
an officer may work in a 24 hour period for health and safety reasons. The testimony and filings in this
matter suggest there is some confusion regarding the actual hours limitation. The limitation variously has
been referred to as the 16 hour 35 minute rule, the 16:35 rule, the 16 hour 48 minute rule, the 16:48 rule,
and the 16.58 hour rule. The original Consent Decree, entered by the Court on January 11, 2013 (R. Doc.
159-1 at ¶ 365) limited work in any 24 hour period to 16 hours. The Consent Decree subsequently was
amended in October 2018 to increase the limit to 16 hours and 49 minutes (otherwise stated as 16.82 hours).
See R. Doc. 565 at 97. NOPD’s policy, however, still limits officers to working 16 hours and 35 minutes
(which may also be stated as 16.58 hours) in any 24 hour period. See NOPD Policy 13:15 (January 14, 2018).
For convenience, the Court will refer to the rule as the “16:35 hour rule.” While this formulation does not
track to the language of the Consent Decree, it does seem to be the formulation most frequently used by the


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by looking at Officer Vappie’s timecards. 51 Finally, Former Interim Superintendent

Woodfork also argued that obtaining “an officer’s personal cellphone as part of an

administrative investigation would deplete and flatten morale of the entire NOPD.”52

        In its various briefs, the City adopts NOPD’s position, stating simply that “PIB does

not issue search warrants for an officer’s private phones in administrative

investigations.”53

        It is clear to the Court that PIB can, under certain circumstances, obtain officers’

personal cell phones in an administrative investigation and should have asked the

questions necessary to determine whether it had the need to do so. NOPD policy makes

clear that personal communications devices used in the course of an officer’s business are

subject to Department review:

                The use of any computer, Internet service, telephone service
                or other wireless service, including member-owned
                devices and services, to send or receive information that
                may be related to departmental or public business may be
                subject to review or disclosure.54

A personal cell phone constitutes a member-owned device. The NOPD should have

investigated whether Officer Vappie used his personal cell phone to send or receive

information related to departmental or public business but did not do so.

        The NOPD’s fear that obtaining an officer’s personal cell phone, when the officer

has used the cell phone in the course of NOPD business, will “deplete and flatten the

morale of the entire NOPD,” likely is overstated in light of the other personal intrusions a



parties. References throughout this Order using different formulations (e.g., references in briefs,
documents, testimony, or hearing arguments) will be viewed as referring to the same rule.
51 R. Doc. 714-6 at 4.
52 Id. At the hearing, Deputy Superintendent Sanchez likewise expressed concern about how requesting an

officer’s personal cell phone “would destroy the morale of the department.” R Doc. 752 (Transcript) at 42.
53 R. Doc. 718 at 32.
54 NOPD Policy 41.3.4 (12/10/17).




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police officer is subject to in the course of an administrative investigation, including “1) a

polygraph examination; 2) a Computer Voice Street Analyzer (CVSA) examination; 3) a

Psychological Stress Exam (PSE); 4) urinalysis, blood test, and/or other medical

laboratory test; 5) a psychological and/or psychiatric evaluation; 6) a physical line-up; 7)

the taking of photographs; and/or 8) Handwriting analysis….” 55 One would be hard

pressed to argue the review of a personal cell phone used in the course of department

business is more likely to deplete morale than any of the foregoing.

        Finally, the NOPD’s conclusion that obtaining an officer’s personal cell phone

would violate the Fourth Amendment is lacking. Courts have upheld a law enforcement

agency’s right to obtain and review an officer’s personal cell phone used in the course of

department business. The basis of the search simply must be reasonable and the search

must be reasonable in scope, with what is reasonable depending on the specific facts of

each case.56

        PIB should have ensured its investigation was robust enough to determine whether

it had a reasonable basis to request Officer Vappie’s personal cell phone for a reasonable

search. If it had a reasonable basis, it should have done so. While the morale of the NOPD

workforce obviously is a serious concern, it cannot be the reason for failing to conduct a

thorough and complete investigation.




55 NOPD Policy 51.1.1.
56 See New Jersey v. T.L.O., 469 U.S. 325, 337 (1985) (a search must be reasonable and “what is reasonable

depends on the context within which a search takes place”); see also O'Connor v. Ortega, 480 U.S. 709, 717
(1987) (plurality opinion) (“The employee's expectation of privacy must be assessed in the context of the
employment relation.”); Spears v. Smith, 996 F.2d 304, 1993 WL 241470 at *2 (5th Cir. 1993)
(unpublished) (citing Ortega, 480 U.S. at 718–19).


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          E.     The Officer Vappie Predisposition Conference                                     Was       Not
                 Conducted In Accordance With NOPD Policy.

          The Court has an additional concern regarding the PIB investigation of Officer

Vappie. Specifically, the Court has lingering questions regarding the Pre-Disposition

Conference panel’s rejection of the PIB investigators’ finding that Officer Vappie worked

more than 18 hours and 35 minutes in a 24 hour period while assigned to NOPD

consultant Fausto Pichardo, rather than to his normal Executive Protection assignment.57

          At the hearing on the Rule to Show Cause, the Deputy Superintendent of PIB, Keith

Sanchez, was asked by the City’s counsel whether he had “an example of additional

information coming in during the [Officer Vappie] trial process or the [Officer Vappie]

hearing process?” 58 Deputy Superintendent Sanchez testified that he did have an

example.59 He described the “additional information” this way:

                 There was an email that was sent from the superintendent, I
                 want to say from Paul Noel, saying that the executive
                 protection [sic] can work more than a 16, 35.60

Deputy Superintendent Sanchez went on to testify that the Noel Email was not available

to the investigators when they closed their investigation and issued their report on March

10, 2023.61

          The City made the same representation (and others) in its pre-hearing brief. The

City’s argument is worth quoting here at length:

          The Pre-Disposition Conference and Pre-Disciplinary Hearing for Officer
          Vappie were conducted on May 25, 2023. At this time Officer Vappie
          introduced evidence and exculpatory arguments for consideration by the
          panel of three NOPD Captains that would evaluate the PIB investigation and

57 R. Doc. 714-4 at 38.
58 R. Doc. 752 (Transcript) at 216.
59 Id.
60 Id.
61 Id. (“Q. So that was a fact that was not available to the investigators when they issued their report, correct?

A. That's correct.”)


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        make recommended findings and suggest appropriate discipline to the
        Superintendent.[62] At this conference Officer Vappie produced an email
        that authorized EP details to work overtime as necessary, effectively
        voiding the 16.58-hour rule for that EP detail. The email states as follows,
        according to the record:

                [A]s a member of the NOPD Executive Protection overtime
                was expressly authorized in an email authored by former
                NOPD Deputy Chief Paul Noel on February 23, 2021. The
                email advised that “per the Superintendent the Mayor's
                Security Detail can work overtime as necessary” and it was
                disseminated to Capt. Joseph Waguespack Sr., Sgt. Shumeca
                Chadwick, Lt. Christopher Johnson, and Sgt. Tokishiba Lane.

        The referenced email will be attached to this correspondence.

        NOPD policy was changed by this email authorization, as conveyed by the
        NOPD Chief of Detectives, Paul Noel. The PIB investigators did not have
        access to this email during their investigation.63

        In support of the City’s representations, the City cites to the affidavit of Captain

Kendrick Allen.64 In his affidavit, Captain Allen states the following:

                After the investigation was complete, and before the Pre-
                Disciplinary Hearing, an email was provided by Officer
                Vappie that showed that all overtime for the executive
                protection team was authorized by the Superintendent of
                Police. This email was communicated by former Deputy Chief
                Paul M. Noel. This excused deviations from the 16:35-hour
                rule by Officer Vappie or any executive protection team
                member.65

        After examining the evidence, the Court has multiple concerns regarding these

representations. First, the evidence does not support the testimony that the Noel Email

was unavailable to the investigators when they issued their report on March 10, 2023.



62 It is noteworthy that the City often refers to the Pre-Disposition Conference and the Pre-Disciplinary

Hearing as though they are one event. But they are different events with materially different purposes. As
one illustration, NOPD policy allows an officer to present evidence relative to his or her defense at the Pre-
Disposition Conference, but not at the Pre-Disciplinary Hearing. See NOPD Operations Manual at 26.2; see
also Section I.E.2, infra.
63 R. Doc. 716-3 at 20 (emphasis added).
64 R. Doc. 746-1 at 209 (NOPD_0005840) (also filed as R. Doc. 716-6).
65 R. Doc. 746-1 at 211-12 (NOPD_0005842-43).




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Second, the evidence does not support the testimony that Officer Vappie provided the

Noel Email at his Pre-Disposition Conference. Third, the Noel Email does not state that

members of the Executive Protection team are authorized to violate the 16:35 hour rule.

Fourth, contrary to the City’s witnesses’ testimony, the Superintendent of the NOPD

cannot override NOPD policy. Fifth, the Noel Email is additional evidence collected after

the timelines in La. RS 25:2531.66 Each concern is discussed below.

                1.      Captain Kendrick Allen Received The Noel Email On March
                        7, 2023, Three Days Before the PIB Investigation Was
                        Completed.

        With regard to the Court’s first concern, the evidence shows that Captain Kendrick

Allen received a copy of the Noel Email from Sgt. Lane on Tuesday, March 7, 2023, three

days before the completion and closure of the Officer Vappie investigation. 67 Captain

Glasser received the email from Sgt. Lane the same day.68 Captain Allen replied to Sgt.

Lane requesting a “follow up statement just regarding this email.”69 Sgt. Lane confirmed

she was available and the two planned to meet on March 8 at Sgt. Lane’s office.70 The PIB

investigation report on March 10, 2023 makes no mention of the Noel Email, the Lane

correspondence, or any supplemental interview of Sgt. Lane.71




66 See OIPM Report of July 11, 2023.
67 R. Doc. 740-1 at 26-27 (Ex. 1 at NOPD_0002783-84). Interestingly, Sgt. Lane copied Captain Michael

Glasser on her email to Captain Allen. According to PIB’s investigation report, Captain Glasser represented
Sgt. Lane during her PIB interview. Captain Glasser also apparently served on Officer Vappie’s Pre-
Disposition Conference panel and his Pre-Disciplinary Hearing panel. See R. Doc. 746-1 at 180 and 189 (Ex.
10 at NOPD_0005816 and NOPD_0005823). The Court questions why PIB did not recognize the conflict
in having the representative of Officer Vappie’s supervisor also serve on the Pre-Disposition Conference
panel and the Pre-Disciplinary Hearing panel.
68 Id.
69 Id.
70 Id.
71 See, generally, R. Doc. 714-4 at 2-43.




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        In short, contrary to the testimony of Deputy Superintendent Sanchez, Captain

Allen’s affidavit, and the City’s pre-hearing brief, the Noel Email was available to the PIB

investigators three days before they issued their report on March 10, 2023.

                2.      The Noel Email Was Not Presented By Officer Vappie At
                        His Pre-Disposition Conference.

        With regard to the Court’s second concern, the testimony at the hearing raised

more questions than it answered regarding how the Pre-Disposition Conference panel

came into possession of the Noel Email.

        Under NOPD Operations Manual, Chapter 26.2 Adjudication of Misconduct,

Section 16, during the Predisposition Conference, “the accused employee may present

relevant information to dispute or clarify the allegations made against him/her or present

information relevant to his/her defense.”72

        There is no evidence in the record, including in the recording of the Pre-

Disposition Conference, that Officer Vappie provided the Noel Email to the Pre-

Disposition Conference panel. Indeed, there is no indication in the record that Officer

Vappie was even aware of the Noel Email. He did not mention it in either of his two PIB

interviews and did not raise its existence at his Pre-Disposition Conference. Neither did

any other PIB witness mention it during their witness interviews, including Sgt. Lane.

        There is evidence that Captain Allen forwarded the Noel Email to Ms. Audrey

Thomas, an investigator with the PIB Quality Assurance Unit, on May 25, 2023, after the

Pre-Disposition Conference concluded and before the Pre-Disciplinary Hearing began.73




72 Section 63(A) of Chapter 26.2 repeats this same concept providing the accused employee shall get notice

that “a pre-disposition conference will be held, during which the accused employee may present
information relevant to his or her defense.”
73 R. Doc. 740-1 at 26-27 (Ex. 1 at NOPD_0002783-84).




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Presumably, one of the three – Captain Allen, Captain Glasser, or Ms. Thomas – shared

the email with the Pre-Disposition Conference panel members.

        There is no evidence in the documents or the audio recordings of the Pre-

Disposition Conference that Officer Vappie provided the Noel Email to anyone. Indeed,

since the Noel Email was not mentioned in either of Officer Vappie’s interviews, it seems

likely Officer Vappie did not even know about the email prior to or during the Pre-

Disposition Conference.

        When evidence comes in during a PIB investigation, the investigators have the

opportunity to test the evidence. They ask questions of witnesses, review additional

documents, look at meta-data, etc. A document that is introduced for the first time after

a Pre-Disposition Conference receives none of that vetting.74 Neither the investigators nor

the Pre-Disposition Conference panel was able to ask a single question regarding the

validity or authenticity of the email or what it authorized. Yet, the document not only was

provided to the panel after the Pre-Disposition Conference, it was used by the Hearing

Officer to overturn a recommendation by the PIB investigators that a violation be

sustained. Furthermore, as discussed below, the recommendation was overturned based

upon an unreasonable reading of the email itself.




74 In its analysis of the PIB investigation of Officer Vappie, the Office of the Independent Police Monitor

raised the following additional concern: “The OIPM is unclear as to whether the information was verified,
how it was analyzed (weighed) or utilized by the panel in their decision 6 making, since the defense did not
formally submit it as evidence nor was Officer Vappie questioned about the email during the hearing nor
did the investigators include this information in their investigation (all of which are the ordinary
mechanisms to allow this email to be included in the deliberations for the hearing).” OIPM Letter to Former
Interim       Superintendent      Woodfork        (7/11/23)       at     5-6      (https://nolaipm.gov/wp-
content/uploads/2023/08/8-16-2023-OIPM-Report-re-CTN-2022-0513-R-Vappie-NOPD-Formal-
Response.pdf). The Court shares the OIPM’s concern.


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          It is clear the hearing officer in the Pre-Disposition Conference relied on the email

as her basis to exonerate Officer Vappie on the Rule 4 violation.75 According to Captain

Precious Banks, the Pre-Disposition Conference hearing officer:

                 [A]s a member of the NOPD Executive Protection overtime
                 was expressly authorized in an email authored by former
                 NOPD Deputy Chief Paul Noel on February 23, 2012. The
                 email advised that “per the Superintendent the Mayor’s
                 Security Detail can work overtime as necessary” and it was
                 disseminated to Capt. Joseph Waguespack Sr., Sgt. Shumeca
                 Chadwick, Lt. Christopher Johnson, and Sgt. Tokishiba
                 Lane.76

          NOPD Policy makes clear, the Pre-Disposition Conference is an opportunity only

for the “accused employee” “to provide the accused with an opportunity to respond to

misconduct allegations.” 77 Instead, it appears that in this case, the Pre-Disposition

Conference members were provided the email for consideration after the Pre-Disposition

Conference, when the opportunity for Officer Vappie to offer evidence to dispute the

allegations against him had ended.

                 3.      The Noel Email Did Not Authorize Members Of The
                         Executive Protection Detail To Work More Than 16 Hours
                         And 35 Minutes In A 24-Hour Period.

          With regard to the Court’s third concern, the evidence does not support the City’s

position that the Noel Email authorized members of the Executive Protection team to

work more than 16 hours and 35 minutes in a 24-hour period.

          The Noel Email reads as follows: “Per the Superintendent the Mayor’s Security

Detail can work overtime as necessary.”78 It says nothing about authorizing the Mayor’s

Security Detail to work more than 16 hours and 35 minutes in a 24-hour period. Nor could


75 R. Doc. 746-1 at 190 (Ex. 10 at NOPD_0005824).
76 Id.
77 NOPD Policy 52.1.2.
78 R. Doc. 740-1 at 27 (Ex. 1 at NOPD_0002784) (emphasis added).




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it since that would violate NOPD Policy79 and the Consent Decree.80 NOPD Operations

Manual Chapter 13.15 provides that “no employee . . . shall work more than 16 hours and

35 minutes within a 24-hour period . . . . These hours are cumulative and shall include

normal scheduled worked hours, overtime, off-duty secondary employment and outside

employment.”81

          There is a material difference between working overtime, as authorized in the Noel

Email, and working more than 16 hours and 35 minutes in a 24 hour period. Obviously,

one may work overtime without violating the 16:35 hour rule. The overtime limits were

put in place by NOPD primarily as a cost-savings measure. The 16:35 hour rule, in

contrast, is mandated by the Consent Decree to promote public and officer safety. The

authority to work overtime does not grant the authority to violate the 16:35 hour rule.82

In fact, NOPD policy makes clear the 16:35 hours allowed includes all hours an officer

works, including overtime.83 Yet, the NOPD and the City inexplicably read the Noel Email

otherwise.84

                4.         The Superintendent Does Not Have The Authority To
                           Change NOPD Policy Via Email.

          The City’s representation that “NOPD policy was changed by [the Noel] email

authorization” also is not supported by the record.85 By its express terms, the Noel Email


79 NOPD Policy 13.15.
80 Consent Decree Paragraph 365.
81 Id. (emphasis added).
82 See NOPD Policy 13.15 at ¶ 6.
83 Id.
84 The Court pressed the Deputy Superintendent of PIB on this matter during the hearing. The Court asked

the following questions: “So, do you agree? This email does not exempt people who are on executive
protection from being subject to the rule in Chapter 2208 that they can't work more than 16 hours, 35
minutes, does it?” R. Doc. 752 (Transcript) at 221. Notwithstanding the clear language of the Noel Email,
Deputy Superintendent Keith Sanchez disagreed with the Court’s interpretation. According to the Deputy
Superintendent, “I agree with the [Pre-Disposition Conference] interpretation that it allows him to work
more than the 16, 35. I do agree with that.” Id.
85 R. Doc. 716-3 at 20.




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authorizes Executive Protection officers to work overtime, a decision well within the

authority of the Superintendent to make. But that is a far cry from insisting the email

changed NOPD’s policy concerning the 16:35 hour rule.86 The email says nothing about

changing the daily hours limit, which is imposed on all officers for health and safety

reasons. Moreover, the concept that the Superintendent has the authority to change

NOPD policy by having a conversation with a deputy chief who then communicates the

information to employees in an email is not credible.87 NOPD has a formal process for

revising its policies, and nothing suggests that process was followed here.88

        In short, the testimony at the hearing, the representations by the City and its

witnesses, and the documents in evidence raise far more questions than they answer

regarding the discovery, meaning, and use of the Noel Email. What is clear is that the Noel

Email did not serve as a legitimate basis for finding that Officer Vappie did not violate the

16:35 hour rule.

                5.         PIB May Not Consider Evidence Introduced After The Close
                           Of The Investigation.

        The Louisiana Law Enforcement Officer Bill of Rights (“LEOBOR”) sets forth

deadlines for administrative investigations. The key deadline, which is modified from

time to time, governs how much time a law enforcement agency has between its

knowledge of a complaint against an officer (called the Cognizance Date) and the

completion of the investigation. The LEOBOR provides that an investigation is “complete

upon notice to the police employee or law enforcement officer under investigation of a

pre-disciplinary hearing or a determination of an unfounded or unsustained


86 See NOPD Policy 13.15.
87 The City’s witnesses testified during the hearing that the Superintendent can “override” NOPD policy.

See R. Doc. 752 (Transcript) at 223. See NOPD Policy 12.1.
88 See NOPD Policy 12.1.




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complaint.”89 Following completion of the investigation, the agency may not supplement

the investigation with further evidence.90

        The consequence of a violation of the LEOBOR deadline is severe. The statute

makes clear that “There shall be no discipline, demotion, dismissal, or adverse action of

any sort taken against a police employee or law enforcement officer unless the

investigation is conducted in accordance with the minimum standards provided for in this

Section.”91 To emphasize the point, the statue provides that “Any discipline, demotion,

dismissal, or adverse action of any sort whatsoever taken against a police employee or law

enforcement officer without complete compliance with the foregoing minimum standards

is an absolute nullity.” 92 Louisiana courts have no hesitation overturning disciplinary

decisions following investigations that have run afoul of the statutory deadline.93

        While in this case the NOPD PIB Pre-Disposition Hearing Panel considered

evidence introduced after the close of the investigation—the Noel Email—to exonerate an

officer, the consideration of the evidence for the first time after the close of the

investigation is in violation of Louisiana law and creates all manner of problems as

described in Section 2 above.

                 6.      Summary

        The unexplained and likely preferential reassignment of Officer Vappie, PIB’s

failure to follow NOPD policy with respect to information presented at Officer Vappie’s



89 La. R.S. 40:2531 (B)(7); see, e.g. Young v. Dep't of Police, 152 So. 3d 193 (La. Ct. App. 2014) (applying §

40:2531 in context of NOPD investigation).
90 See, e.g. Pozzo v. Dep’t of Police, No. 2018-CA-0832 (La. Ct.     App. 2018) (finding discipline an absolute
nullity because NOPD failed to demonstrate “complete compliance” with the timelines set forth in §
40:2531).
91 La. RS 40:2531(C).
92 Id.
93 See, e.g., See Young v. Dep't of Police, 152 So. 3d 193, (La. Ct. App. 2014) (finding discipline imposed an

“absolute nullity” because the NOPD failed to comply with the deadlines set forth in RS 40:2531).


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Pre-Disposition Conference, the use of the Noel Email to circumvent NOPD policy, PIB’s

refusal to acknowledge that it violated policy with respect to the Officer Vappie

investigation, and PIB’s insistence that it handled the Officer Vappie investigation just as

it would have any other investigation all led to the Rule to Show Cause, to which the Court

now turns its attention.

II.     The NOPD Has Failed To Show Cause Why It Should Not Be Found to
        Have Violated Eight Paragraphs of the Consent Decree.

        A.      The City violated Paragraph 399 of the Consent Decree.

        Paragraph 399: NOPD agrees to develop and implement a complaint
        classification protocol that is allegation-based rather than anticipated
        outcome-based to guide PIB in determining where a complaint should be
        assigned. This complaint classification protocol shall ensure that PIB or an
        authorized outside agency investigates allegations including:
                a) serious misconduct, including but not limited to: criminal
                misconduct; unreasonable use of force; discriminatory policing; false
                arrest or planting evidence; untruthfulness/false statements;
                unlawful search; retaliation; sexual misconduct; domestic violence;
                and theft;
                b) misconduct implicating the conduct of the supervisory or
                command leadership of the subject officer; and
                c) subject to the approval by the Deputy Superintendent of PIB,
                allegations that any commander requests be conducted by PIB rather
                than the subject officer's District/Division.94

        The Monitor found NOPD violated paragraph 339 of the Consent Decree, which

requires NOPD to implement an “allegation-based” complaint classification protocol.95

An allegation-based classification system is one that records and classifies allegations

based on the allegation itself, and not on the likelihood of that allegation being

sustained. 96 As discussed in more detail below, the Monitor’s findings that the City



94 R. Doc. 726 (Transcript) at 9-10.
95 R. Doc. 714 at 4 (Ex. 26); Consent Decree Paragraph 399.
96 Consent Decree Paragraph 399.




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violated this provision of the Consent Decree were based on the information NOPD

received from the initial Fox8 email, coupled with the content of the subsequent Fox8 TV

report, a complaint by Dr. Skip Gallagher received a few days later, and multiple

conversations with the Monitor and the OIPM. According to the Monitor, these facts

should have been viewed by NOPD as an allegation that Officer Jeffrey Vappie billed

NOPD for time not worked (i.e., payroll fraud) while serving on the Mayor’s Executive

Protection team.97

        In its multiple filings and court presentations, the United States agrees with the

Monitor’s findings.98 The City disagrees. The basis for the City’s position, however, is not

altogether clear. In its brief, the City argues PIB did in fact conduct a payroll fraud

investigation,99 but the City attached the affidavit of Captain Kendrick Allen in which he

testified that he did not conduct a payroll fraud investigation.100 This Court puts far more

weight on the testimony of the City’s witnesses that it did not conduct a payroll fraud

investigation than on the argument of the City’s counsel that it did. 101 Moreover, the

absence of any discussion relating to billing for time not worked or payroll fraud in the

PIB investigation report strongly supports the City’s witnesses’ testimony that PIB did not

meaningfully investigate payroll fraud.102



97 Throughout this matter, the parties and the Monitor have used the phrase “payroll fraud” and “billing for

time not worked” interchangeably. From the Court’s perspective, for purposes of this matter, any legal
difference in the terms is immaterial. The operative question here simply is whether the complaint(s) that
served as the genesis of PIB’s CTN# 2022-0513-R investigation alleged that Officer Vappie spent time not
performing NOPD duties while being paid by NOPD.
98 R. Doc. 715 at 4-5.
99 R. Doc. 718 at 24 (“Payroll fraud was investigated”).
100 R. Doc. 718-3 at 3 (“To be clear, at no time was Officer Vappie under investigation for Payroll fraud….”).
101 See, e.g., 5th Circuit Pattern Jury Instruction (Civil) 3.1 (2020) (“The testimony of the witnesses and

other exhibits introduced by the parties constitute the evidence. The statements of counsel are not evidence;
they are only arguments. It is important for you to distinguish between the arguments of counsel and the
evidence on which those arguments rest. What the lawyers say or do is not evidence….”).
102 See generally R. Doc. 714-4.




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        In any case, the City argues a payroll fraud investigation was not warranted

because the Fox8 allegation lacked even a “hint” of serious misconduct.103 Here again, as

detailed below, the evidence belies the City’s argument.

        Having considered the evidence presented by the parties and their argument, the

Court finds that the Fox8 communication, especially when coupled with (i) the content of

the subsequent Fox8 news story, which the PIB investigators concede they watched; (ii) a

subsequent citizen complaint; 104 and (iii) frequent reminders by the Monitor and the

OIPM, 105 demonstrate that PIB should have recorded the allegation against Officer

Vappie as one alleging, among other things, billing for time not worked (i.e., payroll

fraud).106 Accordingly, PIB should have investigated the allegation either criminally or

administratively.

        The facts that lead the Court to this conclusion include the following:

                The initial Fox8 communication 107 clearly says Officer Vappie spent
                 extensive hours in the Upper Pontalba apartment with his protectee during
                 work and non-work hours.108 For example, Fox8 alerted NOPD to the fact
                 that on August 9, Officer Vappie “arrived [at the Pontalba apartment] at

103 R. Doc. 714-6 at 3 (“No allegation of misconduct by Officer Vappie was described, suggested, hinted at

or articulated as conduct that requires the release of the investigation pursuant to Paragraph 454.”); see
also R. Doc. 753 (Transcript) at 50 (Cpt. Allen testifying that there was nothing in the Fox8 allegations “that
would lead us to a payroll fraud violation.”).
104 R. Doc. 740-2 at 1.
105 See, e.g., R. Doc. 753 (Transcript) at 52 (testifying the Monitoring Team raised the “payroll fraud” issue

“several times” over the course of the PIB investigation).
106 As the City’s witnesses explained at the Hearing, it is PIB’s obligation to record all allegations on the

relevant intake paperwork. See, e.g., R. Doc. 754 (Transcript) at 56 (…Anything that's learned from the
intake, from the initial complaint will be on the intake form. That answer is correct, yes….”).
107 The Deputy Superintendent of PIB testified that the Fox8 communication served as the origin of the PIB

investigation into the actions of Officer Vappie. See, e.g., Doc 752 at 111. The Court recognizes that the
communication from Fox8 was not styled as a “complaint,” but that semantic distinction is of no moment.
The Consent Decree defines “complaint” broadly to include “any complaint regarding NOPD services, policy
or procedure, any claim for damages, or any criminal matter that alleges possible misconduct by an NOPD
officer or employee.” Consent Decree at ¶14(p). How a complainant styles a complaint is not determinative
of whether the communication is a complaint. It also is worth noting that NOPD Policy 52.1.1 (8) makes
clear that “Any complaint received by NOPD via an anonymous source or third-hand from any known
source (e.g., news media . . .) shall be investigated fully and fairly with what information is given and/or
discovered during the course of the investigation.”
108 R. Doc. 747-1 at 10-13.




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                 7:55 am with a bag of groceries and a case of bottled water. He was there
                 until 3:09 pm. He returned at 8:36 pm and left at 12:42 am. According to
                 City documents, he was on the clock for the NOPD from 8 am – 8 pm that
                 day.”109

                The initial Fox8 communication further states Officer Vappie may have
                 spent time serving on a local board (the HANO Board) performing non-
                 NOPD functions while being paid by the NOPD.110

                The subsequent Fox8 news story, which the PIB investigators concede they
                 watched,111 clearly states Officer Vappie may have been spending time not
                 conducting NOPD business while being paid by NOPD.112

                The Fox8 news story further clearly reported that Officer Vappie spent time
                 serving on the Housing Authority of New Orleans (“HANO”) Board while
                 being paid by NOPD.113

                Early on in the PIB investigation, PIB believed there was an ongoing federal
                 criminal investigation into the same actions of Officer Vappie that formed
                 the basis of the PIB CTN# 2022-0513-R investigation into the actions Officer
                 Vappie.114

                From the start of the PIB investigation, the Monitor and the OIPM
                 reiterated the importance of recording and investigating the “time not
                 worked/payroll fraud” allegations. The City’s witnesses agree this was a
                 frequent topic of conversation on their weekly calls.115

                Shortly after the opening of the investigation into Officer Vappie, the
                 Monitor forwarded to PIB a complaint from Dr. Skip Gallagher clearly
                 alleging that “payroll fraud is alive and well within the Mayor’s Executive




109 Id.
110 R. Doc. 747-1 at 10-13.
111 See, e.g., R. Doc. 752 (Transcript) at 98.
112 R. Doc. 747-1 at 11 (“Mayor Cantrell appointed Officer Vappie to the HANO Board. He attended the first

meeting in March 2022. On at least three occasions, he attended a HANO meeting while also being on the
NOPD clock.”).
113 R. Doc. 747-1 at 12-13. The Deputy Superintendent of PIB testified at the hearing that the initial

correspondence from Fox8 did include an allegation that Officer Vappie billed NOPD while sitting on the
HANO Board. See R. Doc. 752 at 116. Further, while not in the record, the Court takes notice that the Fox8
televised news story regarding Officer Vappie, as the correspondence from Fox8 said it would, did cover the
HANO Board allegations. See Fox8 "ZURIK: NOPD investigating officer frequently inside Cantrell’s city-
owned apartment” (https://www.fox8live.com/2022/11/10/zurik-nopd-investigating-officer-frequently-
inside-cantrells-city-owned-apartment/).
114 R. Doc. 752 (Transcript) at 82-83.
115 See, e.g., R. Doc. 718-3 at 3; R. Doc. 753 (Transcript) at 52-53 (testifying the Monitor raised the payroll

fraud allegation against Officer Vappie “several times”).


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                 Protection Team.”116 Dr. Gallagher included a detailed discussion in support
                 of his allegation.117

        Notwithstanding these facts, the City stands firm that NOPD had no obligation to

record payroll fraud as an allegation or to investigate payroll fraud. 118 Indeed, NOPD

strongly suggests PIB plans to handle similar situations in the future in the same

manner.119

        With regard to evidence in support of NOPD’s position, the City offers very little.

At one point, its witnesses suggested that billing NOPD for time not working for NOPD

categorically did not constitute payroll fraud.120 This is incorrect as a matter of law. Billing

for time not worked may constitute payroll fraud. 121 Furthermore, billing for time not

worked may be investigated criminally or administratively.122

        At another point, the City’s witnesses supported its position by arguing the Fox8

communications had no “supporting evidence for payroll fraud.” 123 This argument is

unpersuasive for several reasons.

                First, as the Deputy Superintendent of PIB explained, NOPD classifies
                 allegations based not on the specific wording used by the complainant, but

116 R. Doc. 747-4 at 4 (Ex. 39).
117 See Doc 754 (Transcript) at 155-156 (“My impression was that they strongly encouraged us to find – not

find. Strongly encouraged us to add payroll fraud. They kept saying payroll fraud, payroll fraud, payroll
fraud. That it was very important that payroll fraud was included in the allegations themselves.”); see also
generally, Doc 747-4 at 1-5 (Ex. 39).
118 R. Doc. 752 (Transcript) at 271-73; R. Doc. 718 at 25-26.
119 R. Doc. 746-1 (Allen Affidavit) at 211 (NOPD_0005842); see also Doc 752 (Transcript) at 9 (Deputy

Superintendent Sanchez testifying that the PIB investigation of Officer Vappie “proceeded as any other
investigation would.”); R. Doc. 716-3 at 25 (representing that PIB does not detail all the allegations it
considers but rejects).
120 See, e.g., 753 (Transcript) at 53-55 (explaining that Officer Vappie’s time on the HANO Board did not

constitute payroll fraud because “he was not paid for any time on the board . . . .” and had no intent to
defraud).
121 Under Louisiana law, public payroll fraud under La. R.S. 14:138 is considered a type of theft. State v.

Fruge, 251 La. 283 (1967).
122 R. Doc. 752 (Transcript) at 58 and 134 (payroll fraud can be investigated administratively); R. Doc. 753

(Transcript) at 58 (payroll fraud can be investigated criminally).
123 R. Doc. 753 (Transcript) at 50. Further to this point, Captain Allen testified that had the complaint used

the actual words “payroll fraud,” PIB would have treated the matter differently. R. Doc. 753 (Transcript) at
59.


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                  on the nature of the facts alleged by the complainant.124 This statement is
                  consistent with the Consent Decree. 125 As noted above, while the Fox8
                  communications did not use the word “payroll fraud,” the communications
                  did include clear suggestions that Officer Vappie was billing for time not
                  worked.126

                 Second, as the Deputy Superintendent of PIB also explained, subsequent to
                  the opening of the Vappie investigation, PIB received a second allegation
                  alleging the entire Mayor’s Executive Protection Team was recording and
                  billing for “inordinate and impossible hours.”127 The investigator who led
                  this second investigation referred to it as a “payroll fraud investigation.”128

                 Third, in March 2023, PIB received yet another complaint (designated PIB
                  CTN# 2023-0141-P) focusing on Officer Vappie’s time on the HANO
                  Board. 129 The City treated this complaint as a criminal “payroll fraud”
                  complaint, but ultimately closed its investigation without action because the
                  City viewed it as a “duplicate” of the PIB CTN# 2022-0513-R complaint.130
                  According to the City, however, the PIB CTN# 2022-0513-R allegation did
                  not involve payroll fraud.131

                 Finally, the City argues the evidence uncovered by the PIB investigators did
                  not suggest payroll fraud. The City’s witnesses testified to this effect as
                  well.132 The City and its witnesses, however, seem to confuse an allegation
                  with evidence of a violation. What PIB uncovers during an investigation
                  does not have a bearing on the nature of the initial allegation. The question
                  here is not what PIB uncovered during its investigation. The question is
                  what PIB reasonably should have recorded as an allegation at the outset of
                  its investigation.

         NOPD’s failure to record an allegation properly brings with it a host of cascading

consequences. The nature of the allegation guides the subsequent investigation.133 It also


124 R. Doc. 754 (Transcript) at 142 (“PIB’s classification system . . . [is] based off of factual allegations . . .”).
125 See Consent Decree Paragraph 399 (“NOPD agrees to develop and implement a complaint protocol that

is allegation-based rather than anticipated outcome-based to guide PIB in determining where a complaint
should be assigned.”).
126 R. Doc. 747-1 at 10-13.
127 R. Doc. 754 (Transcript) at 156-159.
128 R. Doc. 740-2 (Sgt. Schuler request to Civil Service for more time) at 118.
129 R. Doc. 752 (Transcript) at 145; see also R. Doc. 746-1 at 6.
130 R. Doc. 752 (Transcript) at 146.
131 Id. at 148-149.
132 See, e.g., Doc 754 (Transcript) at 31; R. Doc 753 (Transcript) at 53 (discussing evidence collected rather

than substance of allegation).
133 See, e.g., R. Doc. 752 (Transcript) at 274 (counsel explaining that the way the allegation is recorded

dictates whether the allegation will receive a disposition); La RS 40:2531(B)(1) (the stated nature of the
investigation guides the conduct of interrogations); R. Doc. 752 (Transcript) at 273 (the classification of the
investigation as administrative or criminal dictates the involvement or not of the District Attorney’s Office).


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impacts whether PIB gives the allegation a disposition.134 It further impacts the substance

of the investigation report.135 In short, including all allegations and a clear disposition for

each in PIB’s reports not only is a requirement of the Consent Decree, it is critical to

ensure fairness, transparency, and accountability.136

        Based on these facts, the Court finds the City has failed to present adequate

evidence that it adhered to Consent Decree Paragraph 399 with regard to the classification

of the allegations against Officer Jeffrey Vappie. While certainly a single transgression

does not evidence a pattern of ongoing noncompliance, the City’s refusal to acknowledge

its mistake and its suggestion that it plans to continue operating the same way it did

during the Officer Vappie investigation led to the Court’s finding of a violation of

Paragraph 399.

        B.      The City violated Paragraph 415 of the Consent Decree.

        Paragraph 415: The misconduct investigator shall explicitly identify and
        recommend one of the following dispositions for each allegation of
        misconduct in an administrative investigation:
                a) "Unfounded," where the investigation determines, by a
                preponderance of the evidence, that the alleged misconduct did not
                occur or did not involve the subject officer;
                b) “Sustained," where the investigation determines, by a
                preponderance of the evidence, that the alleged misconduct did
                occur;


134 R. Doc. 752 (Transcript) at 274 (counsel explaining that the way the allegation is recorded dictates

whether the allegation will receive a disposition). It is worth noting here that NOPD’s instruction to PIB
investigators on how to complete their investigation reports emphasizes how important it is to accurately
and broadly record the allegations in those reports: “The synopsis of the allegations shall also set forth the
alleged violations. Identify and list every possible misconduct violation contained within the complaint or
identified during the supervisor’s initial inquiry into the complaint or through his/her own observation.”
NOPD Policy 52.1.1 (102)(a)(2).
135 See NOPD Policy 51.1.1 at § 102.
136 Additionally, while transcripts of the witness interviews were not introduced at the hearing, the Court

notes that the absence of a properly articulated intake form including an allegation of payroll fraud led to
objections during the witness interviews themselves. The publicly available recordings of the PIB interview
of Officer Vappie, for example, show that Officer Vappie’s lawyers raised objections to interview questions
that went beyond the recorded 16:35 hour rule violation.


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                    c) "Not Sustained," where the investigation is unable to
                    determine, by a preponderance of the evidence, whether the alleged
                    misconduct occurred; or
                    d) "Exonerated," where the investigation determines, by a
                    preponderance of the evidence, that the alleged conduct did occur
                    but did not violate NOPD policies, procedures, or training.137

         In its presentation to this Court on June 21, 2023, the Monitor asserted that PIB

failed to give a disposition to each allegation encompassed by the complaint against

Officer Vappie.138 Specifically, the Monitor found that NOPD violated Paragraph 415 of

the Consent Decree by failing to analyze and give a disposition to the payroll fraud

allegation.139

         The City and NOPD dispute the Monitor’s finding for two primary reasons. First,

they argue there was no need to include a disposition on payroll fraud in PIB’s report

because there was no allegation of payroll fraud.140 As discussed above, the Court finds

the presumption underlying this argument to be factually and legally incorrect. There was

an allegation of payroll fraud. The fact that PIB neglected to record it as such and

neglected to investigate it cannot be bootstrapped into a justification for failing to include

a disposition in its investigation report, as required by Paragraph 415 of the Consent

Decree.

         Second, the City argues it is a routine practice for PIB to “not detail all the

allegations it considered but ultimately determined were unsupported by the

evidence….”141 To the extent this is a “routine practice” of PIB, it is a practice that must




137 Id. at 15-16.
138 Monitor   Presentation To Court (June 21, 2023) (accompanying presentation slides available at
www.consentdecreemonitor.com).
139 Id.
140 R. Doc. 752 (Transcript) at 274.
141 R. Doc. 718 at 25.




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come to an end. 142 The Consent Decree is clear that PIB shall explicitly identify and

recommend a disposition for each allegation of misconduct in an administrative

investigation.143 PIB’s ultimate determination of the validity of this allegation does not

play a part at this stage.

        Paragraph 415 of the Consent Decree provides as follows regarding dispositions:

                 415. The misconduct investigator shall explicitly identify and
                 recommend one of the following dispositions for each
                 allegation of misconduct in an administrative investigation:

                 • A) Unfounded…

                 • B) Sustained…

                 • C) Not Sustained…

                 • D) Exonerated…144

        In short, if there has been an allegation of misconduct, there must be an

accompanying disposition.

        As there was an allegation of payroll fraud in this case – indeed, there were

multiple allegations of payroll fraud from multiple sources – it was incumbent upon PIB

to record the allegations, investigate the allegations, and give the allegations a formal

disposition in the final report. PIB failed to do so here.145



142 To the extent the City’s witnesses are referring to potential additional violations not alleged but explored

during the course of an investigation, the Court recognizes that those additional unalleged violations may
not warrant a full discussion and disposition in the final investigation report when they turn out to be
unsupported by the evidence. But that is a different issue. The requirement of the Consent Decree is that
all allegations be given a disposition, not that every issue investigators consider during the course of an
investigation be given a disposition.
143 Consent Decree Paragraph 415.
144 Consent Decree Paragraph 415.
145 See R. Doc. 714-4 at 2-43. The Court recognizes that prior audits of the Monitor have shown NOPD to be

in compliance with its obligations under Consent Decree Paragraph 415. See, e.g., R. Doc. 702 at 90. Against
this background, a single transgression typically would not garner any attention from this Court. In this
case, however, the City’s attorney has represented that “PIB does not detail all the allegations it considered
but ultimately determined were unsupported by the evidence.” R. Doc. 716-3 at 25. One of the City’s
witnesses, Captain Allen, made a similar representation in his affidavit attached to one of the recent City


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        The disposition requirement in the Consent Decree serves multiple purposes. In

no particular order, this requirement both provides clarity to the officer who is the subject

of the investigation and makes it harder for NOPD to sweep uncomfortable or

embarrassing situations under the proverbial rug, which is something that concerned

DOJ when it investigated NOPD prior to the Consent Decree.146 Requiring a disposition

of all allegations also helps ensure PIB conducts complete investigations that can be

meaningfully reviewed by NOPD reviewers, by the New Orleans Civil Service Department,

and by the courts.

        These considerations are important components of the NOPD’s and the City’s

commitment to “to ensure that all allegations of officer misconduct are received and are

fully and fairly investigated; that all investigative findings are supported using the

preponderance of the evidence standard and documented in writing; and that all officers

who commit misconduct are held accountable pursuant to a disciplinary system that is

fair and consistent.”147

        C.      The City violated Paragraph 414 of the Consent Decree.

        Paragraph 414: The resolution of any misconduct complaint must be
        based upon the preponderance of the evidence. A misconduct investigation
        shall not be closed simply because the complaint is withdrawn or because
        the alleged victim is unwilling or unable to provide additional information
        beyond the initial complaint. In such instances, the investigation shall
        continue as necessary within the allowable investigation timeframes
        established under this Agreement to resolve the original allegation(s) where
        possible based on the evidence and investigatory procedures and techniques
        available. In each investigation, the fact that a complainant pled guilty or
        was found guilty of an offense shall not be the deciding factor as to whether
        an NOPD officer committed the alleged misconduct, nor shall it justify
        discontinuing the investigation.148

filings. See R. Doc. 718-3 at 2-3. It is these representations, that fly in the face of Paragraph 415 of the
Consent Decree, that give the Court such great concern.
146 DOJ Investigation of the New Orleans Police Department(Findings Report) (March 16, 2011) at 81.
147 Consent Decree § XVII.
148 Id. at Paragraph 414.




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           The Monitor has asserted that PIB failed to document that it used the correct legal

standard in reaching its conclusion regarding the allegations against Officer Vappie.

Specifically, the Monitoring Team pointed out that the PIB Report in PIB CTN# 2022-

0513-R uses three different formulations to describe the level of evidence supporting the

investigators’ findings:

                 With regard to Officer Vappie violation of Rule 4, Paragraph 2, PIB noted
                  that “Captain Kendrick Allen proved beyond a preponderance of evidence
                  that” Officer Vappie violated the applicable rules.149

                 With regard to Officer Vappie’s violation of Rule 3, Paragraph 1, PIB noted
                  that Officer Vappie “may have violated this rule.”150

                 With regard to Officer Vappie’s violation of Rule 4, Paragraph 3, PIB noted
                  that Officer Vappie “was not attentive to his duty as an Executive Protection
                  member” when he attended HANO Board meetings.151

           The Monitor believes the PIB investigators applied the preponderance of the

evidence standard during the investigation. Nevertheless, the Monitor found that “PIB

incorporated incorrect and confusing language in its investigation report and missed an

important opportunity to explain the basis for its findings by not including an analysis of

how it applied the Preponderance of the Evidence standard to the facts before it . . . .”152

The Monitor went on to note that “this gap in the investigation report will make it harder

for NOPD to defend its position should Officer Vappie appeal the discipline imposed.”153

           The United States agreed with the Monitor’s findings.154

           In response to the Monitor’s report, the NOPD said:

                  Although the governing standard for administrative
                  investigations is a preponderance of the evidence, PIB does

149 R. Doc. 714-4 at 38.
150 Id.
151 Id.
152 R. Doc. 714-5 at 9.
153 Id.
154 R. Doc. 715 at 4.




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                 not approach investigations with an intention to make the
                 facts fit. We investigate the complaint by following the lead of
                 the facts wherever they lead and when the trail of the facts
                 ends, we begin the conclusion of the investigation.155

This statement is non-responsive at best. The City’s discussion in its brief to this Court

was equally unresponsive, focusing on the sufficiency of the evidence rather than on the

Monitor’s finding that PIB failed to document the correct legal standard.156

        The City’s witnesses at the hearing conceded that the investigation report did not

document that the correct legal standard was used. The lead PIB investigator Captain

Allen testified that he did apply the “preponderance of the evidence” standard “for every

sustain.” 157 According to Captain Allen, “even though it’s a poor choice of words, the

standard was used.” 158 Similarly, while he also could not explain the “poor choice of

words,” Lieutenant Lawrence Jones concurred with Captain Allen that PIB did apply the

correct preponderance of the evidence standard in reaching their conclusions.159

        The Consent Decree makes clear that administrative investigation findings must

be made using the “preponderance of the evidence” standard.160 No one disputes this.

NOPD Policy 51.1.2 aligns with the Consent Decree by requiring that misconduct

investigators “reach a conclusion supported by the preponderance of the evidence and

prepare a written recommendation ”161 NOPD Policy 26.2 likewise aligns with the Consent

Decree and defines the preponderance of the evidence standard as follows:

“Preponderance of the evidence—Such evidence that when considered and compared with




155 R. Doc. 714-6 at 3.
156 See, e.g., 716-3 at 30-32.
157 R. Doc. 753 (Transcript) at 88.
158 R. Doc. 753 (Transcript) at 89.
159 R. Doc. 754 (Transcript) at 89.
160 Consent Decree Paragraph 414.
161 NOPD Policy 51.1.2.




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that opposed to it has more convincing force and produces in one’s mind the belief that

what is sought to be proven is more likely true than not true.”162

        The evidence presented at the hearing, and the argument of the parties, suggests

PIB likely did apply the correct legal standard in reaching its findings sustaining the

allegations against Officer Vappie. The language used by PIB in its investigation report,

however, clearly was inaccurate. As the Monitor noted in its reports and presentations,

this sort of loose language in an official report – i.e., using “may have violated” instead of

“violated by a preponderance of the evidence” – creates a high likelihood that the

investigation findings, if challenged, would be overturned on appeal. 163 Obviously,

investigation findings overturned due to procedural errors benefit neither the NOPD nor

the community.164 The Court finds the City violated Paragraph 414 of the Consent Decree.

        D.       The City violated Paragraph 413 of the Consent Decree.

        Paragraph 413: In each investigation, NOPD shall consider all relevant
        evidence, including circumstantial, direct, and physical evidence, as
        appropriate, and make credibility determinations based upon that
        evidence. There will be no automatic preference for an officer's statement
        over a non-officer's statement, nor will NOPD disregard a witness'
        statement merely because the witness has some connection to the
        complainant or because of any criminal history. NOPD shall make efforts to
        resolve material inconsistencies between witness statements.165



162 NOPD Policy 26.2; see also NOPD Policy 51.1.2.
163 While not material to the Court’s findings above, it is notable that Officer Vappie’s lawyers did raise this

very defense in Officer Vappie’s Pre-Disposition Conference. With regard to PIB’s second finding, Officer
Vappie’s lawyers argued that PIB cannot support a sustained finding if the officer only “may have violated”
the rule. See Audio Transcript of Vappie Pre-Disposition Conference (5/24/23).
164 The use of inaccurate language in the PIB investigation report raises an additional concern. The City’s

witnesses’ testimony focused on the standards applied to PIB’s sustained findings. See, e.g., R. Doc. 753
(Transcript) at 88. The imprecise language regarding the legal standard applied, however, leads this Court
to wonder whether the correct legal standard was applied to the allegations not reflected in the PIB report.
Captain Allen testified that PIB routinely considers potential violations that do not make it into the final
report when there is inadequate evidence of the violation. See R. Doc. 718 at 25 (citing Allen Affidavit). For
example, PIB apparently considered the possibility of payroll fraud in PIB CTN# 2022-0513-R, but decided
not to investigate due to inadequate evidence. See, e.g., R. Doc 753 (Transcript) at 53. It is not clear to this
Court what standard PIB applied to make that decision.
165 Id. at 20-26.




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           In its analysis of PIB’s investigation, the Monitor found that PIB failed to consider

and document circumstantial evidence in its investigation of Officer Vappie. 166

Specifically, the Monitor criticized PIB for seemingly ignoring significant circumstantial

evidence that could suggest to a reasonable person that Officer Vappie was not engaged

in police work during the hours he spent in the Upper Pontalba apartment, both on and

off duty, with his protectee.167 The Monitor put it this way:

                   While PIB admittedly did not have visibility into what was
                   going on in that apartment — i.e., whether Officer Vappie was
                   there in service of his executive protection function or was
                   there for more social reasons — there is much circumstantial
                   evidence that suggests Officer Vappie was not present in
                   furtherance of his executive protective duties. This
                   circumstantial evidence should have been included in the PIB
                   report since it all is relevant to NOPD’s application of the
                   Preponderance of the Evidence standard.168

The Monitor outlines a long list of circumstantial evidence that was not considered by the

investigators and did not find its way into PIB’s analysis or report.169

           The United States agrees with the Monitor’s critique.170 The United States goes

further, though, and identifies additional circumstantial evidence not considered by PIB

because, according to DOJ, PIB failed to conduct an adequate investigation. 171

Specifically, DOJ points to PIB’s failure (i) to interview all potential witnesses including,

employees and agents of NOPD, (ii) to interview certain employees of the City,172 (iii) to


166 R. Doc. 714 at 14-15 (Ex. 26).
167 R. Doc. 714-5 at 9.
168 Id.
169 Id. at 9-10.
170 R. Doc. 715 at 4.
171 R. Doc. 752 (Transcript) at 291.
172 With regard to PIB’s failure to interview all witnesses, the Monitor and the United States point out that

the Mayor and NOPD consultant Fausto Pichardo both refused to be interviewed by PIB. See R. Doc. 714 at
16 (Ex. 26); see also R. Doc. 752 (Transcript) at 290. While the Court understands why PIB may have
thought its hands were tied following these refusals, DOJ correctly points outs the Mayor had no right to
say no to a PIB interview. According to DOJ, the City’s counsel “tries to differentiate the Mayor and the
Mayor’s staff as not being part of NOPD, that completely overlooks the Consent Decree’s provision that


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interview the complainant Lee Zurik and the subsequent complainant Dr. Skip Gallagher;

(iv) to ask questions of Officer Vappie about the evidence that might be on his personal

cell phone, and (v) to ask officer Vappie to give PIB access to his personal cell phone.173

In sum, DOJ argues, PIB’s actions were equivalent to “voluntarily turning one’s head away

and not even asking the important questions that are required to understand what is the

circumstantial evidence in this investigation.”174

        In response, the City offers two arguments. First, the City contends the

circumstantial evidence pointed out by the Monitor is “speculation,” not “circumstantial

evidence.”175 Second, the City notes that at least one NOPD witness testified that PIB did

consider circumstantial evidence in its investigation and another explained he did watch

certain videos of Officer Vappie entering and leaving the Upper Pontalba apartment.176

        The Court finds that the evidence presented at the hearing demonstrates that PIB

did not adequately consider or document circumstantial evidence. The Consent Decree

mandates that “in each investigation, NOPD shall consider all relevant evidence,

including circumstantial, direct, and physical evidence, as appropriate, and make

credibility determinations based upon that evidence. . . .”177 NOPD Policy contains the

same requirement: “In each investigation, the investigator shall consider all relevant




says, this Consent Decree applies to all City employees and agents. They don’t get to say no. It’s a federal
court order. To act in derogation of that federal court order is violative of the order, to be most charitable.”
R. Doc. (Transcript) 752 at 290. DOJ is correct. The Consent Decree governs the actions of all City and
NOPD employees and agents, including the Mayor and consultant Pichardo. Consent Decree Paragraph 8.
The Court suggests that the next time an employee or agent of the City or NOPD refuses to participate in a
process mandated by the Consent Decree, PIB should promptly bring the matter to the attention of this
Court through the Monitor.
173 R. Doc. 752 (Transcript) at 290-92.
174 Id.
175 R. Doc. 716-3 at 31.
176 See, e.g., R. Doc. 753 (Transcript) at 79.
177 Consent Decree ¶ 413 (emphasis added).




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evidence, including circumstantial, direct, and physical evidence, as appropriate, and

make credibility determinations based upon that evidence….”178

        The commonplace definition of circumstantial evidence is “indirect evidence that

does not, on its face, prove a fact in issue, but gives rise to a logical inference that the fact

exists.”179 For example, in a murder case, an eyewitness who saw the suspect shoot the

victim would be direct evidence. In contrast, an eyewitness who saw the suspect leaving

the house following the shooting would be circumstantial evidence.

        Turning our attention to the facts before PIB in its investigation of Officer Vappie,

PIB rightly states it lacked direct evidence of whether Officer Vappie was or was not

engaged in police work while in the Upper Pontalba apartment for extensive hours. In

other words, PIB lacked direct evidence that Officer Vappie may have been billing NOPD

for time not engaged in his official duties. But as the Monitor pointed out, PIB had

significant circumstantial evidence that could suggest to a reasonable person that Officer

Vappie was not engaged in police work while in the apartment. The Monitor laid out that

evidence in its Report, and the list will not be repeated here.180

        The City attempts to excuse PIB’s failure to consider, analyze, and document this

circumstantial evidence by labeling it “speculation.”181 The City confuses its terms. The

items identified by the Monitor and the United States are not speculation, they are facts.

Officer Vappie did spend numerous hours in the Upper Pontalba apartment with his

protectee. That is a fact. Officer Vappie was the only member of the Mayor’s Executive


178 NOPD Policy 52.1.2 (emphasis added).
179 Cornell Law School Legal Information Institute. Black’s Law Dictionary offers a similar definition:

“Evidence directed to the attending circumstances; evidence which inferentially proves the principal fact
by establishing a condition of surrounding and limiting circumstances, whose existence is a premise from
which the existence.”
180 R. Doc. 714 at 15-16 (Ex. 26).
181 R. Doc. 716-3 at 31.




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Protection Team who spent time in the Upper Pontalba apartment with the Mayor. That

also is a fact. Officer Vappie allowed his protectee to walk to her car alone in the evening

or early morning after spending significant time with her in the Upper Pontalba

apartment. That is another fact. There is nothing speculative about this evidence. These

events happened. Calling them “speculation,” as the City does, does not change that.

        This is not to say that PIB necessarily had to interpret these facts as demonstrating

by a preponderance of the evidence that Officer Vappie was billing for time not working

while in the Upper Pontalba apartment. But PIB should have considered the evidence,

analyzed the evidence, reached a disposition, and explained its disposition in its report.182

        E.      The City violated Paragraph 454 of the Consent Decree.

        Paragraph 454: City and NOPD shall provide each investigation of a
        serious use of force or use of force that is the subject of a misconduct
        investigation, and each investigation report of a serious misconduct
        complaint investigation (i.e., criminal misconduct; unreasonable use of
        force; discriminatory policing; false arrest or planting evidence;
        untruthfulness/false statements; unlawful search; retaliation; sexual
        misconduct; domestic violence; and theft), to the Monitor before closing
        the investigation or communicating the recommended disposition to the
        subject of the investigation or review. The Monitor shall review each
        serious use of force investigation and each serious misconduct complaint
        investigation and recommend for further investigation any use of force or
        misconduct complaint investigations that the Monitor determines to be
        incomplete or for which the findings are not supported by a
        preponderance of the evidence. The Monitor shall provide written
        instructions for completing any investigation determined to be incomplete
        or inadequately supported by the evidence. The Superintendent shall
        determine whether the additional investigation or modification
        recommended by the Monitor should be carried out. Where the
        Superintendent determines not to order the recommended additional
        investigation or modification, the Superintendent will set out the reasons
        for this determination in writing. The Monitor shall provide
        recommendations so that any further investigation or modification can be

182 The Court recognizes that Captain Allen testified that he did consider circumstantial evidence in his

analysis (see R. Doc. 753 (Transcript) at 79), but the absence of a single mention of such evidence in the
PIB report suggests PIB’s consideration may have been less than robust. NOPD policy makes clear
investigators are responsible for documenting “a detailed account of every aspect of the investigation . . . .”
NOPD Policy 52.1.2.


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        concluded within the timeframes mandated by state law. The Monitor may
        coordinate with the IPM in conducting these use of force and misconduct
        investigation reviews.183

        The Monitor asserts that NOPD violated the Consent Decree by refusing to provide

a draft of PIB’s investigation report of Officer Vappie to the Monitor before closing its

investigation, as required by Paragraph 454 of the Decree. 184 The Monitor “requested

access to the PIB investigation report on multiple occasions during weekly status calls

with the PIB and the OIPM. The OIPM made similar requests during these weekly calls.

PIB responded that it would not share a copy of the investigation report.”185

        The United States agrees that NOPD was required to produce the draft Officer

Vappie investigation report to the Monitor before closing its investigation and failed to do

so in violation of Consent Decree Paragraph 454.186 According to the United States, the

City’s refusal to produce the report prevented the Monitor from performing its “mandated

role under 454, which has to do not with a large, systemic view of NOPD, but a specific

look at the microcosm of one investigation.”187

        The City does not dispute the underlying facts presented by the Monitor. Neither

does the City dispute the assertion that it refused to provide the Monitor a copy of the

draft PIB report when asked.188 Instead, the City offers two arguments in an effort to

excuse its refusal to provide the draft.



183 Consent Decree Paragraph 454.
184 R. Doc. 714 at 1-7 (Ex. 26).
185 See R. Doc. 714 at 2-3 (Ex. 26); see also R. Doc. 714-5 at 15. The City’s witnesses concede the Monitor

requested to review the Officer Vappie report before it was finalized. See, e.g., R. Doc. 752 (Transcript) at
76.
186 R. Doc. 715 at 4.
187 R. Doc. 752 (Transcript) at 27.
188 See R. Doc 752 (Transcript) at 76; R. Doc. 714-6 at 3 (asserting that its refusal to share the draft of the

PIB Report with the Monitor did not violate the Consent Decree). PIB eventually did turn over its
investigation report to the Monitor on April 3, 2023, well after the completion and closing of the PIB
investigation.


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        First, the City argues it had no obligation to accede to the Monitor’s request

because the Officer Vappie investigation did not involve “serious misconduct.” 189 The

NOPD goes further and asserts that “under the most liberal reading and interpretation,

the Consent Decree would not describe the Officer Vappie investigation as one that

entitles the Monitor to the investigation before its completion.”190 In NOPD’s view, “No

allegation of misconduct by Officer Vappie was described, suggested, hinted at, or

articulated as conduct that requires the release of the investigation pursuant to paragraph

454.” 191 Second, the City argues the Monitor was not harmed by the City’s refusal to

provide the draft Officer Vappie report because the Monitor had an “unprecedented level

of access” to the PIB investigation team prior to PIB’s preparation of its report.192

        For the reasons that follow, the City’s reading of the Consent Decree is strained to

say the least, as is its characterization of the facts of the Officer Vappie allegations and

investigation. In short, the City’s position is incorrect. The operative question is whether

the allegations communicated by Fox8 regarding Officer Jeffrey Vappie – and

supplemented by a number of other sources – constitute “serious misconduct” pursuant

to Paragraph 454.193 The evidence presented to this Court makes clear they do.

        There are two parts to the inquiry of whether the City was required to provide the

Monitor with its draft report before the investigation was complete and before

communicating the recommended disposition to the subject of the investigation or

review. First, do the allegations fit within the Consent Decree definition of “serious




189 R. Doc. 752 (Transcript) at 11-12 and 276-79.
190 R. Doc. 714-6 at 2; see also Doc 752 (Transcript) at 74-75.
191 R. Doc. 714-6; see also R. Doc. 752 (Transcript) at 77.
192 R. Doc. 752 (Transcript) at 279.
193 R. Doc. 747-1 at 10-13.




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misconduct”? Second, does the Monitor’s purported “unprecedented level of access”

somehow relieve the City of its obligation to comply with Paragraph 454?

        The Monitor has pointed to the facts that show there was an allegation of payroll

fraud194 against Officer Jeffrey Vappie, including

                The text of two separate communications from Fox8 to the City,195

                The content of the even more explicit Fox8 investigative report aired shortly
                 thereafter, which key members of PIB concede they watched,196

                A contemporaneous complaint from a citizen (Dr. Skip Gallagher) alleging
                 that “payroll fraud is alive and well and extends into the upper ranks of the
                 NOPD as well as the Mayors own security detail. . . ,”197

                PIB’s awareness that the FBI was conducting a criminal investigation of
                 Officer Vappie at the same time PIB was investigating Officer Vappie,198

                Multiple statements from the Monitor and the OIPM to PIB that there had
                 been an allegation of payroll fraud against Officer Vappie,199 and

                NOPD’s own characterization of two additional complaints involving
                 Officer Vappie as including allegations of “payroll fraud.”200




194 A number of different terms have been used throughout this matter to describe the relevant allegation

against Officer Jeffrey Vappie, including payroll fraud, public payroll fraud, timecard fraud, billing for time
not worked, theft, and adherence to law, among others. Regardless of the particular phrase used, for
purposes of this matter, all refer to a situation in which an officer engages in (or is alleged to have engaged
in) non-NOPD activities while being paid by NOPD.
195 R. Doc. 747-1 at 10-13.
196 R. Doc. 754 (Transcript) at 70; R. Doc. 752 (Transcript) at 98.
197 R. Doc. 747-4 at 4 (Ex. 39).
198 R. Doc. 752 (Transcript) at 82.
199 R. Doc. 714 at 3-7 (Ex. 26); see also, e.g., R. Doc. 754 (Transcript) at 46.
200 See R. Doc. 740-2 at 118 (NOPD_003469)(a letter to the Civil Service Department describing the related

investigation of Sgt. Tokishiba Lane-Hart, SPO Robert Monlyn, and SPO Louis Martinez under PIB CTN#
2022-0566-P as payroll fraud); PIB CTN# 2023-0141-P attached hereto as Attachment 2 (describing a
complaint made by Belden Batiste against Officer Vappie as being “Relative to payroll fraud” and
referencing La. R.S. 14:138). In these matters, however, PIB either exempted Officer Vappie from the
investigation (as it did in the PIB CTN# 2022-0566-P matter) or terminated the investigation altogether
(as it did in the PIB CTN# 2023-0141-P matter). The basis for these decisions was that PIB purportedly
already was investigating Officer Vappie for these same allegations under PIB CTN# 2022-0513-R. The
troubling reality, of course, is that, by the City’s own admission, PIB was not investigating Officer Vappie
for payroll fraud under PIB CTN# 2022-0513-R. See, e.g., R. Doc. 718-3 at 3 (“To be clear, at no time was
Officer Vappie under investigation for Payroll fraud….”).


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        While the City apparently reads the texts of the initial Fox8 correspondence

differently from the Monitor, the OIPM, and the DOJ,201 the City does not dispute the

existence of the foregoing communications or events.

        Based upon the documents presented at the hearing and the testimony of

witnesses, this Court finds the evidence clearly establishes there was an allegation of

payroll fraud against Officer Vappie. Accordingly, that allegation should have been

acknowledged, recorded, investigated, and given a disposition. PIB did none of these

things.

        With that established, the next question is does an allegation of payroll fraud of the

type made against Officer Vappie fall within the Consent Decree definition of “serious

misconduct”? The answer to that question is “yes, it does.”

        Consent Decree Paragraph 454 defines “serious misconduct” as encompassing

allegations of “untruthfulness,” “false statements,” and “theft.”202 Billing NOPD for time

not worked is inherently an act of untruthfulness and involves making false statements.

Further, if done with the requisite intent, it may also constitute the crime of “theft.” 203

        The City offers two arguments in support of its position that payroll fraud does not

constitute serious misconduct as used in the Consent Decree. First, the City suggests

payroll fraud is not the kind of false statement, untruthfulness, or theft contemplated by

the Consent Decree, which the City claims focuses more on the “violation of civil rights,




201 The United States complains of the City’s “circular reasoning of choosing to avoid the absolute clear

allegation that this investigation of Officer Vappie involved payroll fraud . . . .”). R. Doc. 752 (Transcript) at
286.
202 Consent Decree Paragraph 454.
203 Under Louisiana law, public payroll fraud under La. R.S. 14:138 is considered a type of theft. See, e.g.,

State v. Fruge, 251 La. 283 (1967). As the City explained during the hearing, allegations of payroll fraud
against members of the NOPD may be investigated administratively or criminally, depending on the details
of the allegation. See R. Doc. 752 (Transcript) at 68.


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such as planting evidence, unlawful search, false arrest, unreasonable use of force,

discriminatory policing.”204 The City’s interpretation of the Consent Decree is not based

on fact or law.205 There is no reason to believe the parties to the Consent Decree did not

intend the terms false statement, untruthfulness, and theft to be given their common

meanings which go beyond planting evidence, unlawful search, false arrest, unreasonable

use of force, and discrimination.

         Next the City argues, even if payroll fraud were encompassed by Paragraph 454,

payroll fraud was not alleged in this case. According to the City “you get to theft [which,

the City concedes is covered by Paragraph 454] only by virtue of saying, well, payroll fraud

is stealing. Sure, but that’s not what this investigation was about. So, that’s the flaw in the

analysis on 454 in terms of its applicability at all.”206 For the reasons discussed above, the

evidence does not support the City’s position. As recognized by the Monitor, the OIPM,

the United States, and this Court, the multiple allegations against Officer Vappie clearly

alleged payroll fraud among a number of other potential violations. The City is using its

violation of Paragraph 399 of the Consent Decree to excuse its violation of Paragraph 454.

         Because the Court has found that payroll fraud was alleged and payroll fraud does

fall within the definition of “serious misconduct” set forth in Paragraph 454, the final

question is whether the Monitor’s purportedly “unprecedented level of access” to PIB

during the Officer Vappie investigation somehow relieved the City of its obligation to

comply with paragraph 454 of the Consent Decree.207 It did not.


204 R. Doc. 752 (Transcript) at 277.
205 The City did not cite any evidence or any law to support this interpretation.
206 Id. at 12.
207 The City’s counsel repeatedly has described the access given to the Monitor as “unprecedented.” The

City’s own witness, Lt. Jones, however, testified that PIB and the Monitor met on a weekly basis over the
course of PIB’s investigation into alleged payroll fraud involving officers working Secondary Employment
details. See R. Doc. 754 (Transcript) at 10. Thus, the weekly meetings in the course of the Officer Vappie


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        There is no question PIB cooperated with the Monitor (and with the OIPM) during

its investigation of Officer Vappie. The City’s witnesses all testified to the broad access

PIB gave the Monitor and the Monitor itself recognized this access in its various reports

and court presentations.208 Nevertheless, the City did not give the Monitor the chance to

review and comment on PIB’s draft report before the investigation was complete and

before communicating the recommended disposition to Officer Vappie. Consequently,

while the Monitor knew the facts PIB had uncovered during its investigation, the Monitor

had no idea, until it was too late, which allegations were addressed, how PIB evaluated

the facts it had gathered, which facts would be credited/rejected, or how the policies

would be applied to the facts. The Monitor likewise was not afforded the opportunity to

see how PIB was dealing with circumstantial evidence, how it planned to describe the

standard under which it reached its conclusions, or how it handled its credibility

determinations; nor was the Monitor afforded the opportunity to communicate with the

Superintendent prior to the release of the report as contemplated by the Consent Decree.

        The Department of Justice summarized the importance of Paragraph 454 well in

its closing argument:

                By circumventing 454 by merely saying we won’t characterize
                this as payroll fraud, which is theft by their own admission,
                they avoid the specific provision of the Consent Decree and,
                frankly, the chance to gets out from under it. The chance to
                have the court monitor help and correct the error before they
                have an unforced error. It’s like deliberately throwing the
                interception.




investigation perhaps are not as “unprecedented” as the City suggests. In any event, whether the access
provided the Monitor was “unprecedented” is wholly immaterial to the question at hand.
208 R. Doc. 714 at 1 (Ex. 26) (“We appreciate the cooperation we received from PIB prior to the preparation

of the PIB investigation report.”).


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The Court agrees with the United States. By ignoring its obligations under Paragraph 454,

the City not only violated the Consent Decree, it also impaired its own ability to receive

assistance from the Monitor in a manner that, in hindsight, clearly would have benefited

the City.

         PIB’s investigation into the allegations against Officer Vappie did constitute a

serious misconduct complaint investigation because the complaint clearly involved

allegations of truthfulness, false statements, and theft. As a result, NOPD was required to

comply with Paragraph 454 of the Consent Decree. By not doing so, it precluded the

Monitor from doing its job, and prevented the NOPD from gaining the benefit of the

Monitor’s input in a timely fashion. Considering the issue more broadly, the Court is

concerned that PIB may be making similar decisions in other matters as well. This concern

is exacerbated by the NOPD’s view, expressed by former Interim Superintendent Woodfork,

that it did nothing wrong and that there was not even a “hint” of serious misconduct in the

allegations against Officer Vappie.209 A mistake in an individual matter is one thing, but a

refusal to recognize the mistake is a strong indicator the errant practice will continue. This

cannot be allowed.

         F.         The City violated Paragraphs 470 and 472 of the Consent Decree.

         Paragraph 470: To facilitate its work, the Monitor may conduct on-site
         visits and assessments without prior notice to the City and NOPD. The
         Monitor shall have access to all necessary individuals, facilities, and
         documents, which shall include access to Agreement related trainings,
         meetings, and reviews, such as critical incident reviews, use of force
         review boards, and disciplinary hearings. NOPD shall notify the Monitor
         as soon as practicable, and in any case within 12 hours, of any critical
         firearms discharge, in-custody death, or arrest of any officer.210



209 See R. Doc. 714-6 at 3 (“No allegation of misconduct, by Officer Vappie, was described, suggested, hinted

at or articulated as conduct that requires the release of the investigation pursuant to Paragraph 454.”).
210 Id. at 31-33.




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           Paragraph 472: City and NOPD shall ensure that the Monitor has full
           and direct access to all City and NOPD documents and data that the
           Monitor reasonably deems necessary to carry out the duties assigned to
           the Monitor by this Agreement, except any documents or data protected
           by the attorney-client privilege. The attorney-client privilege may not be
           used to prevent the Monitor from observing reviews and trainings such as
           use of force review boards, or disciplinary hearings. Should the City and
           NOPD decline to provide the Monitor access to documents or data based on
           privilege, the City and NOPD shall inform the Monitor and DOJ that they
           are withholding documents or data on this basis and shall provide the
           Monitor and DOJ with a log describing the documents or data and the basis
           of the privilege for withholding.211

           In its June 5, 2023 Officer Vappie Report, the Monitor reported to the Court that,

for the first time since the entry of the Consent Decree in 2013, the NOPD had refused to

produce documents requested by the Monitor. 212 Specifically, the Monitor (and the

OIPM) requested from PIB a draft of the Officer Vappie investigation report prior to the

completion of the investigation on multiple occasions during the weekly status

meetings.213 PIB rejected these requests.214 As the Monitor noted in its various reports

and presentations to the Court, this is the first time in memory NOPD refused to produce

materials required to be produced by the Consent Decree.215

           The United States raised the same serious concern in its Court filings216 and in its

closing argument at the Show Cause hearing.217




211 Id.
212 R. Doc. 714 at 7-10 (Ex. 26).
213 See, e.g., R. Doc. 714; see also R. Doc. 752 (Transcript) at 76.
214 R. Doc. 752 (Transcript) at 76.
215 R. Doc. 714-5 at 15.
216 See, e.g., R. Doc. 735 at 14.
217 R. Doc. 752 (Transcript) at 293.




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        The City does not dispute that it refused to turn over the requested documents.218

Indeed, the City’s witnesses expressly confirmed NOPD did not produce the materials.219

The NOPD, however, “vehemently disagree[s] with the suggestion that the Public

Integrity Bureau violated the Consent Decree by refusing to share a copy of the draft PIB

Report with the Monitoring Team.”220 The NOPD offers no justification for its “vehement

disagreement” other than its argument that, since the Officer Vappie investigation

purportedly did not involve an allegation of “serious misconduct,” the materials requested

by the Monitor are not covered by Paragraph 454.221

        The City has remained relatively quiet on this issue in its various filings. In its

closing argument at the hearing, however, the City’s counsel asserted “I don't believe there

is any evidence at all that they were denied reasonable access to individuals or

documents.” Upon being reminded by the Court that the City’s own witnesses had

conceded NOPD refused to produce a copy of the draft PIB investigation report regarding

Officer Vappie to the Monitor, counsel pivoted to argue instead that that NOPD’s refusal

was not a violation of the Consent Decree because Paragraph 454 purportedly trumps the

requirements of Paragraph 470 and 472 under the “rules of contract interpretation.”222

        For the reasons detailed below, the City’s and NOPD’s arguments are wholly

unpersuasive, in large part because they conflate two different obligations under the




218 R. Doc. 752 (Transcript) at 76; see also R. Doc. 714-6 at 2 (“We disagree with the Monitoring Team’s

analysis that PIB violated the Consent Decree by refusing to share a copy of the PIB report with the
Monitoring Team when requested.”).
219 R. Doc. 752 (Transcript) at 76. On April 3, 2023, NOPD finally shared with the Monitor a copy of the PIB

investigation initially requested in mid-March. By the time NOPD shared the investigation report with the
Monitor, it was long after the completion of the PIB investigation, which was concluded and closed on
March 10.
220 R. Doc. 714-6 at 3.
221 Id.
222 R. Doc. 752 (Transcript) at 279-80.




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Consent Decree – NOPD’s Paragraph 454 obligations and NOPD’s independent

obligations under Paragraphs 470 and 472.

          Paragraph 470 of the Consent Decree provides that “the Monitor shall have

access to all necessary individuals, facilities, and documents, which shall include

access to Agreement related trainings, meetings, and reviews, such as critical incident

reviews, use of force review boards, and disciplinary hearings.”223 Paragraph 472 similarly

requires that the City give the Monitor “full and direct access to City and NOPD

documents that the Monitor reasonably deems necessary to carry out the duties assigned

to the Monitor….”224 These are broad, clear provisions designed to ensure the Monitor

has what it needs to get its job done. The only exception to these clear rules is that the

Monitor is not entitled to documents covered by the Attorney Client Privilege or Attorney

Work Product Doctrine,225 neither of which apply to the current dispute.

          As to the City’s argument that, “under the rules of contract interpretation,”

Paragraph 454 takes precedence over Paragraphs 470 and 472, 226 the City apparently

misunderstands the application of that rule. In the first instance, a Court must look to the

plain language of the agreement itself.227 Only if that language is ambiguous does the

Court resort to general rules of contract interpretation. 228 Consent decrees, as the

majority rightly points out, are interpreted according to the general principles of contract

law.229 Under Louisiana law, courts seek the parties’ common intent starting with the




223 Consent Decree Paragraph 470 (emphasis added).
224 Consent Decree Paragraph 472 (emphasis added).
225 Consent Decree Paragraph 472.
226 R. Doc. 752 (Transcript) at 280.
227 Chisom v. State of La., No. 22-30320 (5th Cir. Oct. 25, 2023), ECF No. 95.
228 Id.
229 See Frew v. Janek, 780 F.3d 320, 327 (5th Cir. 2015).




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contract’s words, which control if they are clear and lead to no absurdities. 230

“Furthermore, a contract is to be construed as a whole and each provision in the contract

must be interpreted in light of the other provisions.” 231

        The Consent Decree is clear. Paragraphs 470 and 472 require the City and NOPD

to give the Monitor access to all documents reasonably necessary to carry out the

Monitor’s duties. Consistent with this basic requirement, Paragraph 454 sets out an

additional process and timeline for serious misconduct complaints. Specifically,

Paragraph 454 contemplates the production of a serious misconduct investigation report

before PIB closes the investigation or communicates the recommended disposition to the

subject of the investigation or review so the Monitor may provide substantive

recommendations to PIB and the Superintendent. If the Superintendent chooses not to

accept those recommendations, she must respond to the Monitor with her reasons in

writing.232

        There is nothing inherently contradictory or ambiguous in paragraphs 454, 470,

or 472. Accordingly, there is no justification for the NOPD’s decision to ignore its

obligations under any of the three paragraphs.233

        Regardless of how the City interprets Paragraph 454 (and, as discussed above, it

interprets the paragraph incorrectly), there can be no serious dispute regarding the clarity

of Paragraphs 470 and 472. The Monitor was entitled to the materials it requested in


230 See La. Civ. Code arts. 2045, 2046.
231 Baldwin v. Bd. of Supervisors for Univ. of La. Sys., 2014-0827 (La. 10/15/14), 156 So. 3d 33, 38 (citing

La. Civ. Code art. 2050).
232 Consent Decree Paragraph 454.
233 Even if the City were correct that Paragraph 454 somehow does away with NOPD’s obligations under

Paragraph 470 and 472, the argument would fall prey to the City’s conflicting argument that Paragraph 454
has no application here because there is no allegation of “serious misconduct.” If the City were correct that
454 does not apply, then the City’s argument that 454 precludes the application of 470 and 472 would
collapse under its own weight. Any way you look at it, the City’s creative legal rationalization for NOPD’s
refusal to provide documents to the Monitor is without merit.


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connection with the investigation of Officer Vappie, and the City had no reasonable basis

to deny or delay that request.

          G.     The City violated Paragraphs 409 and 419 of the Consent Decree.

          Paragraph 409: All misconduct investigation interview recordings shall
          be stored and maintained in a secure location within PIB.234

          Paragraph 419: All investigation reports and related documentation and
          evidence shall be securely maintained in a central and accessible location
          until the officer who was a subject of the complaint has severed
          employment with NOPD.235

          In its May 3, 2023 Special Report on PIB, the Monitor expressed concern regarding

PIB’s compliance with its obligations under the Consent Decree to keep investigative

materials confidential.236 To ensure the confidentiality of PIB’s work product, the Monitor

and the OIPM advised PIB at the outset of the Officer Vappie investigation to “establish a

small circle of individuals authorized to have access to investigation materials, and to

preclude all others from such access.” 237 The Monitor explained the basis for this

recommendation as follows: “Because of public and media focus on the investigation and

the fact that the Mayor, their boss, likely would be a material witness in the investigation,

we felt extra precautions were necessary to protect the integrity of the investigation and

avoid any appearance of impropriety.” 238 The Monitor asserts that PIB failed to take

reasonable steps to protect the confidentiality of the information gathered during its

investigation.239




234 Consent Decree Paragraph 409.
235 Id. at Paragraph 419.
236 R. Doc. 694 at 14 (Ex. 25).
237 Id. at 16.
238 Id.
239 R. Doc. 714-5 at 13-14.




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        Specifically, the Monitor identifies three actions PIB took that put the

confidentiality of its investigation at risk: (1) PIB shared a copy of all audio recordings of

witness interviews with the City Attorney’s Office prior to the conclusion of the

investigation,240 (2) the audio recordings shared with the City Attorney apparently were

shared on a non-password protected USB drive, increasing the risk and consequence of

an inadvertent disclosure, and (3) NOPD reassigned the two lead PIB investigators into

the districts during the investigation, which resulted in their working on highly

confidential matters from their district offices rather than from the protected confines of

PIB. 241 In the view of the Monitor, these actions created an increased risk of an

inadvertent breach of confidentiality.242

        The United States raised similar concerns regarding confidentiality.243 The OIPM

likewise expressed concern with the public disclosure of the PIB witness interviews.244

        The City does not dispute that confidential recordings of the witness interviews

were released to the public. 245 The City argues, however, that NOPD should not be held

responsible for the disclosure since it was the fault of the City Attorney’s Office.246 The

City argues further that the failure of NOPD to institute the protections identified by the

Monitor did not violate the Consent Decree.247



240 The City Attorney’s Office has acknowledged an inadvertent public disclosure of the PIB interview

recordings in the Officer Vappie matter. See Public Statement of City Attorney (March 15, 2023)
(https://nola.gov/next/mayors-office/news/articles/march-2023/2023-03-15-city-attorney-pib-
statement/ ).
241 R. Doc. 714-5 at 14. With regard to the third recommendation, the City’s witness testified that all

confidential materials were maintained at PIB throughout the investigation. See R. Doc. 754 (Transcript)
at 145.
242 R. Doc. 694 at 17 (Ex. 25).
243 R. Doc. 715 at 7.
244 Letter From OIPM To the City Council, the Monitor, the DOJ, and this Court (March 13, 2023).
245 R. Doc. 752 (Transcript) at 280; see also Public Statement of City Attorney, supra, (March 15, 2023).
246 R. Doc. 752 (Transcript) at 280.
247 Id. at 281.




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          In response, DOJ points out that the Consent Decree governs NOPD and the City,

including the City Attorney’s Office, thus, it is of no significance whether the disclosure

was the fault of NOPD or the City Attorney’s Office.248 DOJ put it this way in its closing

argument at the hearing:

                  The City’s statement, today and previously, had been, but that
                  wasn't NOPD; that was the City Attorney. Again, that
                  overlooks the definite and specific provision of the Consent
                  Decree that says this applies to all agents and employees of the
                  City. The City Attorney and others cannot act in derogation of
                  this Court's order and let NOPD get off, if you will, scot-free,
                  because, oh, it was another division of the City.249

The United States is correct that the Consent Decree binds the City, the NOPD, and the

City Attorney’s Office.250

          The United States also is correct that the Consent Decree is clear with regard to the

obligations of NOPD and the City to protect the integrity of PIB investigations. Paragraph

409 of the Consent Decree requires that “All misconduct investigation interview

recordings shall be stored and maintained in a secure location within PIB.”251 Similarly,

Paragraph 419 provides that “All investigation reports and related documentation and

evidence shall be securely maintained in a central and accessible location until the officer

who was a subject of the complaint has severed employment with NOPD.”252 While the

City’s witnesses testified that PIB materials are typically kept in a secure location,253 the

disclosure of the interview recordings would suggest this is not always the case.




248 Id. at 293.
249 Id.
250 Consent Decree Paragraph 8.
251 Consent Decree Paragraph    409. (Emphasis added.)
252 Consent Decree Paragraph 419.
253 See, e.g., R. Doc. 754 (Transcript) at 145.




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        After considering the testimony and evidence presented at the hearing, this Court

finds that NOPD and the City failed to take all necessary steps to protect the

confidentiality of the Officer Vappie investigation materials. The City has represented that

reviews are underway to determine the reason for the disclosure of the interview

recordings.254

        With regard to the Monitor’s recommendations regarding protecting confidential

PIB information more generally, the City and NOPD would be wise to seriously consider

those recommendations whether or not they are expressly required by the Consent

Decree.255

        H.      The City violated Paragraphs 306 and 313 of the Consent Decree.

        Paragraph 306: NOPD supervisors shall be held accountable for
        providing the close and effective supervision necessary to direct and guide
        officers. Close and effective supervision requires that supervisors: respond
        to the scene of certain arrests; review each arrest report; respond to the
        scene of uses of force as required by this Agreement; investigate each use of
        force (except those investigated by FIT); review the accuracy and
        completeness of officers' Daily Activity Reports; respond to each complaint
        of misconduct; ensure that officers are working actively to engage the
        community and increase public trust and safety; and provide counseling,
        redirection, and support to officers as needed, and that supervisors are held
        accountable for performing each of these duties.256

        Paragraph 313: NOPD shall hold commanders and supervisors directly
        accountable for the quality and effectiveness of their supervision,
        including whether commanders and supervisors identify and effectively
        respond to misconduct, as part of their performance evaluations and
        through non-disciplinary corrective action, or through the initiation of
        formal investigation and the disciplinary process, as appropriate.257


254 R. Doc. 752 (Transcript) at 163 (confirming City has opened an investigation into the disclosure). The

New Orleans Office of Inspector General acknowledged in its March 2023 Monthly Report that it had
received a request from the New Orleans City Council to investigate the disclosure of the interview
recordings. It is unknown whether the OIG has opened such an investigation.
255 The City represented at the hearing that NOPD was open to the Monitor’s recommendations. See R. Doc.

752 (Transcript) at 281 (“You know, I'm not sure of the current status of that. I believe they would be open
to discussions about that . . . .”).
256 Consent Decree Paragraph 306.
257 Consent Decree Paragraph 313.




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         In its report on PIB’s investigation of Officer Jeffrey Vappie, the Monitor

commented that “NOPD’s closure of its investigation without looking into the

actions/inactions of Officer Vappie’s chain of command (i.e., his supervisors) further

prejudices the Department’s ability to hold those supervisors accountable for their

potential failure to provide close and effective supervision to officers working on the

Executive Protection team.”258 The Monitor noted that the Consent Decree makes clear

that “NOPD supervisors shall be held accountable for providing the close and effective

supervision necessary to direct and guide officers.”

         The United States expressed the same concern, identifying “The status of any

investigation of Officer Vappie’s chain of command” as an “open item” that the City has

not yet addressed.259 Like the Monitor, DOJ emphasized that Consent Decree Paragraph

306 requires that “NOPD supervisors shall be held accountable for providing the close

and effective supervision necessary to direct and guide officers.”260

         There is no evidence in the record that the NOPD made any effort to explore

whether any supervisors failed in their duty to provide close and effective supervision to

Officer Vappie, as required by paragraphs 306 and 313.

         The City’s response to this shortcoming seems to be that Officer Vappie had no

supervisor beyond the Mayor, thus, the NOPD cannot be faulted for its failure to explore

supervisor accountability.261 The City’s reasoning is flawed. The individuals assigned to

the Executive Protection team are NOPD officers. They remain under the supervision of



258 R. Doc. 714 at 8 (Ex. 26). On many occasions, the Monitor reminded PIB of its obligation to investigate

supervisors in Officer Vappie’s chain of command.
259 R. Doc. 715 at 7-8.
260 Id. at 8.
261 R. Doc. 752 (Transcript) at 171.




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the NOPD even when they are providing protection to the Mayor. NOPD has the

obligation to provide close and effective supervision of these NOPD officers. Until very

recently, the NOPD completely failed to meet this obligation. Yet, no supervisor has been

held accountable for this serious violation of NOPD policy and the Consent Decree.262

        This, of course, is not to say that supervisors always are responsible for the failings

of their officers. Certainly, officers make mistakes, violate policies, and otherwise act in

an unprofessional manner through no fault of their supervisors. But the Consent Decree’s

supervision requirements obligate NOPD to at least ask the question of whether there has

been a failure of supervision in a meaningful way. What did the supervisor know? When

did the supervisor know it? Did the supervisor’s action or inaction contribute to or

condone the non-compliance in any way? These are the sorts of questions a department

truly interested in close and effective supervision and supervisor accountability routinely

would ask.263

        It is notable that the NOPD has a process in place specifically to facilitate a review

of supervisors-- the Serious Discipline Review Board (SDRB).264 The stated purpose of

the SDRB is “to review the supervisor’s role in any serious disciplinary action involving a

member of the Department and any cases forwarded to the SDRB by a disciplined




262 Relatedly, the Court reiterates its concern regarding NOPD’s decision to place Captain Glasser on the

Officer Vappie Pre-Disposition Conference panel. Captain Glasser not only represented a witness in this
matter during her interview (Sgt. Lane), but he also is in the chain of command of Sgt. Lane and Officer
Vappie. See R. Doc. 752 (Transcript) at 172-74. The Court is unable to comprehend how NOPD did not
identify this as a conflict of interest and act accordingly.
263 Importantly, the obligation to hold supervisors accountable does not require PIB necessarily to open a

formal “DI1” investigation into every accused officers’ supervisor. The Department has a number of ways
to explore supervisor accountability, including a PIB investigation, a management review, and referral to a
Supervisory Discipline Review Board. The Department also has a number of ways to record the findings of
such a review, including a PIB finding, an entry in the Supervisory Feedback Log, a performance evaluation,
an Insight entry, and/or an SDRB report.
264 NOPD Policy 1.3.8 (11/15/20).




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member’s Bureau Chief.”265 NOPD incorporated the following statement into the SDRB

policy:

                 The SDRB serves as a quality control mechanism to ensure
                 timely reviews of all serious discipline imposed on members
                 to determine the appropriateness of the supervision of the
                 members involved in the infraction and if inadequate
                 supervision or a failure in the chain-of-command was present
                 and caused or enabled the violation(s).266

          While the City concedes, as it must, the existence of the SDRB policy, it argues that

NOPD did not violate the policy because the policy is triggered only when an officer is

suspended for 20 days or more.267 This argument, though, plays fast and loose with the

facts, as the United States’ cross examination of the PIB Deputy Superintendent made

clear:

                 Q. On STRB's (sic), serious discipline review boards, you
                 answered Mr. Zimmer's questions. You said, in this case, there
                 were no suspensions of greater than 20 days, correct?

                 A. That is correct.

                 Q. But since October -- excuse me -- since October 2022, when
                 you took over PIB, there have been officers that have been
                 fired from NOPD based upon allegations of misconduct,
                 right?

                 A. Yes.

                 Q. And still, there have not been any serious discipline review
                 board meetings, even though officers have been fired, right?

                 A. That is correct, sir. Yes.

                 Q. So in no instances has the STRB (sic) convened to hold
                 supervisors responsible, as required in Paragraphs 313 and
                 303 of the Consent Decree, correct?




265 Id.
266 Id. (emphasis added).
267 See R. Doc. 752 (Transcript) at 214.




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                 A. That's correct.268

The PIB Deputy Superintendent admitted that he had never convened the SDRB during

his tenure. He also admitted that officers had been terminated during this time.

Termination is a more severe punishment than suspension for 20 days and should have

led to the convening of the SDRB. As the City’s witnesses confirm, NOPD has not

implemented its SDRB as promised.269

        The United States’ closing argument at the hearing summarized the matter well

and is worth quoting at length:

                 Paragraphs 316 and 313 have to do with supervisory
                 accountability. And the City's pointing to the serious
                 discipline review board. Well, [the City argues,] there was no
                 need with Officer Vappie to convene the serious discipline
                 review board. There are two faulty assumptions there. One is
                 the cascading effect of having not categorized this as serious
                 misconduct on the front end, under 399, and, therefore, never
                 reaching a disposition on payroll fraud that could result in a
                 suspension of over 20 days. The second is the serious
                 discipline review board doesn't just apply to Officer Vappie. It
                 applies to all these individuals, who, as Your Honor heard,
                 even if they were fired by NOPD, there was no serious
                 discipline review board convened from October 2022 to
                 present, despite the 30-day requirement in NOPD's own
                 policy. And for each of those individuals, no one at NOPD then
                 makes that serious discipline review board determination
                 whether their supervisors should be held accountable. And as
                 Your Honor saw in Sergeant Tokishiba Lane-Hart's interview,
                 no supervisors were held accountable up her chain of
                 command for the lack of supervision of executive
                 protection.270


268 R. Doc. 752 (Transcript) at 227.
269 The Court recognizes there is no explicit requirement to have an SDRB in the Consent Decree. The

Consent Decree does, however, require NOPD to hold supervisors accountable for any failure to provide
close and effective supervision of their officers. The NOPD itself devised the SDRB to help it meet its close
and effective supervision obligations. This Court expects NOPD to honor its commitments whether or not
they flow from the explicit language of the Consent Decree. Moreover, whether or not a given event triggers
the need for a SDRB, the actions/inactions of supervisors must be reviewed per the clear language of the
Consent Decree.
270 R. Doc. 752 (Transcript) at 294.




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This Court agrees with the United States’ summary of the matter.

        Notably, this is not the first time the issue of supervisor accountability has come

up. The Monitor shared a similar finding in its 2022 Annual Report:

                 [W]e would be remiss if we did not note a lack of follow-up by
                 the NOPD in certain areas relating to Supervision. For
                 example, one of the commitments NOPD undertook in 2020
                 was to develop a Serious Discipline Review Board that would
                 operate like the existing Use of Force Review Board. The
                 SDRB was to be made up of Department Deputy Chiefs and
                 was to review the accountability of supervisor for actions of
                 subordinates; look for patterns and trends across matters,
                 bureaus, and districts; and seek to identify opportunities for
                 further structural improvements in terms of policies, training,
                 and internal controls. The SDRB was a very encouraging
                 innovation to promote close and effective supervision. The
                 Department failed to hold a single SDRB session in 2022,
                 however. . . .271

Clearly, the NOPD’s failure to hold supervisors accountable goes well beyond the Officer

Vappie investigation.


        The evidence is clear that NOPD still has not fully grasped the importance of

meaningfully exploring the potential role supervisors play in their subordinates’

misconduct. This is a critical component of close and effective supervision (Paragraph

306) and holding supervisors accountable for their failure to provide close and effective

supervision (Paragraph 313).

        I.       The City violated Paragraphs 403 and 420 of the Consent Decree.

        Paragraph 403: All administrative investigations conducted by PIB shall
        be completed within the time limitations mandated by state law and within
        90 days of the receipt of the complaint, including assignment,
        investigation, review and final approval, unless granted an extension as
        provided for under state law or Civil Service exemption, in which case the
        investigation shall be completed within 120 days. Where an allegation is
        sustained, NOPD shall have 30 days to determine and impose the


271 R. Doc. 674-1 at 46 (Ex. 28).




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         appropriate discipline, except in documented extenuating circumstances,
         in which case discipline shall be imposed within 60 days. All administrative
         investigations shall be subject to appropriate interruption (tolling period)
         as necessary to conduct a concurrent criminal investigation or as provided
         by law.272

         Paragraph 420: Each misconduct complainant will be kept informed
         periodically regarding the status of the investigation. The complainant
         will be notified of the outcome of the investigation, in writing, within ten
         business days of the completion of the investigation, including regarding
         whether any disciplinary or non-disciplinary action was taken.273

         The Monitor found NOPD violated Paragraphs 403 and 420 of the Consent Decree,

which set forth three deadlines regarding PIB investigations. 274 First, Paragraph 403

requires administrative investigations to be completed within 90 days (or 120 days if Civil

Service grants an exemption) of receipt of the complaint.275 Second, Paragraph 403 also

gives NOPD 30 days (or 60 days where extenuating circumstances are shown) “to

determine and impose the appropriate discipline . . . .”276 Finally, Paragraph 420 requires

NOPD to notify complainants of the outcome of the investigation within 10 days of the

completion of the investigation.277

         The Monitor and the United States asserted in their various reports, briefs, and

presentations that (a) PIB took more than 30 (and more than 60) days to determine and

impose discipline on Officer Vappie, (b) NOPD took more than 120 days to conduct its




272 R. Doc. 694 at 30 (Ex. 25).
273 Id. at 32 (Ex. 25).
274 See R. Doc. 694 (Ex. 25) (Monitor’s Special Report on PIB); R. Doc. 17 (Monitor’s Special Report on PIB’s

Investigation of Officer Jeffrey Vappie); R. Doc. 674-1 (Ex. 28) (Monitor’s Annual Report for 2022); R. Doc.
702 (Monitor’s First Quarterly Report for 2023).
275 Consent Decree Paragraph 403.
276 Consent Decree Paragraph 493.
277 Consent Decree Paragraph 420 (“Each misconduct complainant will be kept informed periodically

regarding the status of the investigation. The complainant will be notified of the outcome of the
investigation, in writing, within 10 business days of the completion of the investigation, including regarding
whether any disciplinary or non-disciplinary action was taken.”).


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investigation of Officer Vappie, and (c) NOPD failed to notify the complainant of the

status of the Officer Vappie investigation.278

        In response, the City contends that it met its obligations regarding timing in the

Officer Vappie investigation because (a) Louisiana law was changed to allow 135 days

instead of 120 days to conduct administrative investigations, (b) the 30-day timeline for

the imposition of discipline only began to run once the Superintendent signed the final

discipline paperwork, which occurred on June 15, 2023, 279 and (c) there was no

complainant to be notified following the closing of the Officer Vappie investigation.280 For

the reasons discussed below, the Court finds the City has violated Paragraphs 403 and

420.

                1.      Administrative Investigations                   Are      Required        To     Be
                        Completed Within 120 Days.

        Consent Decree Paragraph 403 requires that NOPD administrative investigations

be completed within 60 days, or 120 days with an exemption from Civil Service.281 This

Consent Decree language was drawn from the Louisiana Law Enforcement Officer Bill of

Rights (“LEOBOR”) as it existed at the time the Consent Decree was entered.282 The City’s

witnesses accurately testified at the hearing, however, that the LEOBOR was modified on

August 1, 2021 to provide 135 days for administrative investigations rather than 120




278 See R. Doc. 694 (Ex. 25) (Monitor’s Special Report on PIB); R. Doc. 147 (Monitor Special Report on PIB’s

Investigation of Officer Jeffrey Vappie); R. Doc. 674-1 (Ex. 28) (Monitor’s Annual Report for 2022); R. Doc.
702 (Monitor’s First Quarterly Report for 2023); see also R. Doc. 735.
279 R. Doc. 740-1 at 16.
280 R. Doc. 752 (Transcript) at 109-10; R. Doc. 740 at 23.
281 Consent Decree Paragraph 403.
282 See La. RS 40:2531.




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days.283 Accordingly, the City contends PIB “had 135 days to timely complete this PIB

investigation . . . .”284 The City is wrong.

          While the Court acknowledges Louisiana State Law was modified in 2021, the

Consent Decree has not been modified. The City could have requested a modification to

the Consent Decree at any time, as it has done several times in the past, but it elected not

to do so. Thus, until the Consent Decree is modified, NOPD remains subject to the 120-

day investigation timeline.

          The City goes on to argue that PIB nonetheless met the Consent Decree 120-day

investigation timeline. 285 According to the City, the Officer Vappie investigation was

“initiated on November 9, 2022,” which established a closure date (i.e., an investigation

deadline) of March 11, 2023.286 Since the Vappie report “was completed on March 10,

2023,” the City argues, “the investigation . . . was completed timely.”287 Here again, the

City is wrong. The evidence presented at the hearing tells a different story from the one

offered in the City’s briefs.

          According to the documents presented at the hearing and witness testimony, PIB

recorded the Officer Vappie investigation as being opened on November 8, 2022 – not

November 9 as the City contends in its brief – and closed on March 10, 2023.288 The City’s

witnesses concede, however, that PIB became aware of the complaint against Officer

Vappie on November 7, 2022. 289 DOJ argues, accordingly, that the “cognizance date”




283 R. Doc. 752 (Transcript) at 85; See La. R.S. 40:2531(B)(7), (amended on August 1, 2021, to allow 75 days

to complete an investigation without extension, and 135 days to complete an investigation with extension).
284 R. Doc. 740 at 22.
285 Id.
286 Id.
287 Id.
288 Id. at 22.
289 R. Doc. 752 (Transcript) at 83-84.




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actually was November 7, not November 8 as shown on the City’s intake forms and not

November 9 as the City argues in its brief.290 The Court agrees with the United States.

        NOPD policy defines the cognizance date of an investigation as “The date on which

an NOPD supervisor, whether assigned to PIB or assigned to another bureau, receives a

complaint of alleged employee misconduct from any source, observes employee

misconduct, or gains knowledge from any source of employee misconduct.” 291 PIB

received the Fox8 communication on November 7, 2022. 292 Consistent with this

definition, the Court finds the cognizance date of the Officer Vappie investigation was

November 7. Consequently, the 120-day deadline was March 7, 2023, not March 11, 2023

as argued by the City. PIB completed its investigation on March 10, 2023, three days after

the 120-day deadline imposed by the Consent Decree.

        The Court recognizes that, in this case, missing the Consent Decree deadline by 3

days did not run afoul of state law and probably did not prejudice any party. Nonetheless,

it did run afoul of the express terms of the Consent Decree. Missing an investigation

deadline, even by one day, can result in PIB’s finding being overturned on appeal, as has

happened in several PIB cases of recent vintage.293

        Beyond NOPD’s failure to meet the Consent Decree-imposed deadlines in the

Officer Vappie case, the Court is more troubled by the fact that NOPD’s Formal

Disciplinary Investigation (“FDI”) Transmittal form reflects the 120-day requirement




290 R. Doc. 752 (Transcript) at 84.
291 NOPD Policy 52.1.1 at 2.
292 R. Doc. 752 (Transcript) at 84.
293 See, e.g., Dupree v. New Orleans Police Department, No. 2021-CA-0134 (La. Ct. of Ap. 4th Circuit), Oct.

27, 2021. See also R. Doc. 752 (Transcript) at 91 (Deputy Superintendent Sanchez acknowledging that there
were issues with the cognizance date in the Dupree investigation and, as a result, “Commander [Jennifer]
Dupree [was] reinstated and then even promoted despite having an untruthfulness finding in her initial SIS
investigation.”).


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(which is proper under the Consent Decree), but the due date entered by PIB on the intake

form in the Officer Vappie matter was based on a 135 day calculation (proper under state

law). NOPD’s FDI form for Officer Vappie lists the cognizance date as November 8, 2022

and the 120-day deadline as March 23, 2023.294 Even if the correct cognizance date were

November 8, the March 23, 2023 deadline is actually 135 days after November 8, not 120

days, as the form suggests. To the extent this reflects a practice beyond the Officer Vappie

investigation, it reflects, at best, carelessness, and at worst, deception. Either way, the

practice must be remedied immediately. NOPD must adhere to the plain terms of the

Consent Decree or move the Court to modify the Consent Decree.

        More broadly, the Court notes that the Monitor has pointed out for some time that

NOPD continues to fail to demonstrate compliance with Consent Decree Paragraph 403.

In its 2022 Annual Report (published February 27, 2023), for example, the Monitor

emphasized “Our audit revealed that an excessive number of investigations were not

completed within prescribed timelines and NOPD had no justification for this

noncompliance. The paragraphs related to compliance with timelines and with properly

documenting disciplinary cases and decisions saw the highest rates of non-




294 See R. Doc. 740-1 at 1 (Ex. 1 at NOPD_0002758). See also R. Doc. 747-1 at 1. In its August 25, 2023 filing

with this Court, the City represented that the operative FDI Transmittal document was Bates page
NOPD_0002842 of R. Doc. 740-1 (Ex. 2), which reflects a due date of March 11, 2023. As discussed above,
this is based upon an incorrect cognizance date. See R. Doc. 740 at 22. At the hearing, however, the City
and its witnesses relied upon a different FDI, Bates page NOPD_0002758 of R. Doc. 740-1, (Ex. 1) which
reflects a due date of March 23, 2023. The City’s witnesses testified that they were operating in accordance
with the March 23, 2023 deadline reflected on page NOPD_0002758 of R. Doc. 740-1 (Ex. 1). R. Doc. 754
(Transcript) at 155. The City offered no explanation for these conflicting statements, and the haphazard
manner of the City’s production renders it nearly impossible to determine the reason for the discrepancy
or which document is correct. At the end of the day, however, the difference is immaterial here because PIB
missed its due date in either case.


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compliance.” 295 Likewise, in its May 3, 2023 Special Report, the Monitor noted PIB

continues to be “not compliant” with paragraph 403.296

          More specifically, in its May 3, 2023 Special Report, the Monitor presented

findings from its audit of 26 of the 52 paragraphs in the Misconduct Section of the

Consent Decree. The Monitor concluded that nine out of the 26 audited paragraphs were

“not compliant,” including Paragraph 403. 297 The Monitor found NOPD’s compliance

rates for the timeliness of investigation “to range from 76% to 95%.”298 The City filed a

response to the Monitor’s Special Report on PIB, in which it conceded it has violated

Paragraph 403.299

          Like the City itself, the City’s witnesses did not take issue with the Monitor’s

findings of non-compliance. Indeed, the Deputy Superintendent of PIB readily

acknowledged there “was a backlog of investigations and hearings” when he assumed

command of the PIB in September 2022.300 It is undisputed that NOPD is in violation of

paragraph 403 of the Consent Decree.

                    2.    Discipline Is Required To Be Imposed Within 30 Days Of
                          the Close Of the Investigation.

          In addition to providing deadlines for administrative investigations, Paragraph

403 of the Consent Decree also imposes deadlines for the imposition of discipline. 301

Specifically, in this regard, Paragraph 403 provides as follows: “Where an allegation is

sustained, NOPD shall have 30 days to determine and impose the appropriate discipline,




295 R. Doc. 674-1 at 50 (Ex. 28).
296 R. Doc. 694 at 21 (Ex. 25).
297 Id. at 21-22.
298 Id. at 30.
299 See R. Doc. 697 at 6 (Ex. 27).
300 R. Doc. 752 (Transcript) at 90.
301   Consent Decree Paragraph 403.


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except in documented extenuating circumstances, in which case discipline shall be

imposed within 60 days.”302

          The Monitor presented compelling evidence in its reports and at recent court

proceedings that NOPD continues to violate this requirement. The United States agrees

with this assessment.303

          While the City did not take issue with the Monitor’s finding regarding PIB’s long-

time failure to meet the 30-day discipline requirements of the Consent Decree, one of the

City’s witnesses took issue with the Monitor’s and the DOJ’s interpretation of the 30-day

requirement for imposing discipline. The Monitor and DOJ point to the language of

Paragraph 403 of the Consent Decree that provides the 30-day discipline timeline begins

on the day an investigation is closed pursuant to the LEOBOR and ends on the day the

Superintendent imposes discipline on the accused officer.304 In the Officer Vappie case,

for example, the investigation was closed on March 10, 2023 and discipline was required

to be imposed by April 10, 2023, but instead was imposed by the Superintendent on June

15, 2023 – a period of 97 days.305

          The City’s witnesses, in contrast, argued that the 30-day discipline requirement in

the Consent Decree actually refers to the period of time between the Superintendent’s

approval of the final discipline (in the Officer Vappie case, when Interim Superintendent

Woodford sent a letter to Officer Vappie on June 15, 2023 informing him of what his




302 Id.
303 R. Doc. 715 at 4.
304 R. Doc. 694 at 30; R. Doc. 735 at 10.
305 R. Doc. 740-1 at 16 (Ex. 1 at NOPD_0002773).




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discipline would be) 306 and the NOPD’s imposition of that discipline (in the Officer

Vappie case, the same day, June 15, 2023).307

          The Court finds the City’s reading of the Consent Decree does not comport with its

clear terms for at least two reasons. First, the 30-day requirement is incorporated into

Paragraph 403 of the Consent Decree,308 which deals with the PIB investigation itself, not

with the subsequent approval process. Second, and perhaps more importantly, the City’s

reading would introduce a massive and unfair loophole into the Consent Decree. By the

City’s reading, there would be no deadline for the conduct of the PIB Pre-Disposition

Conference, the Bureau’s Pre-Disciplinary Hearing, or the Superintendent’s ultimate

imposition of discipline.

          Such a reading flies in the face of a basic concept of construction. As the Fifth

Circuit Court of Appeals has noted, “[a] contract is to be construed as a whole and each

provision in the contract must be interpreted in light of the other provisions.”309

          The United States said it well during its closing argument at the hearing:

                The City now says we don't need to impose discipline within
                30 days because we can wait an indefinite period of time
                between disclosure and the superintendent consideration.
                That is a frustrated reading of paragraph 403, and nowhere in
                403 is there room for an indefinite extension of time between
                closure and the superintendent's consideration. And as Your
                Honor pointed out, in the Vappie investigation, that resulted
                in a 97-day gap.

                That is also unfair to NOPD officers who await the result of
                their investigations so they could be promoted, and it's also



306 Id.
307 R. Doc. 752 (Transcript) at 56-58; R. Doc. 752 (Transcript) at 240.
308 See Consent Decree, Section XVII (G) Investigation Timeline.
309 Allen v. Louisiana, 14 F.4th 366, 371 (5th Cir. 2021) (quoting Baldwin v. Bd. of Sup'rs for Univ. of La.

Sys., 2014-0827, p. 7 (La. 10/15/14), 156 So. 3d 33, 38); See also, La. Civ. Code art. 2050 (“Each provision
in a contract must be interpreted in light of the other provisions so that each is given the meaning suggested
by the contract as a whole.”)


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                unfair to the complainants, the people and the public who
                deserve an outcome. . . .310

        The Court agrees with the United States. Under the City’s interpretation, the NOPD

could leave officers with a sustained finding hanging over their heads like the sword of

Damocles for months or even years. This is unfair to officers, unfair to the public, and

certainly not a reading consistent with the purpose of the Consent Decree.

        This does not mean the Court is insensitive to witnesses’ testimony that it is not

practical to expect a complex PIB administrative investigation to go from closing to the

imposition of discipline within 30 days. 311 That may be true, but the solution to that

problem is to request a modification to the Consent Decree, not to ignore its clear terms.

                3.       Complainants Must Be Notified Within 10 Days Of The
                         Close Of The Investigation.

        The Consent Decree requires that complainants be notified of the outcome of the

investigation prompted by their complaint within 10 days of the closing of PIB’s

investigation. 312 The City concedes it did not notify Mr. Zurik or Dr. Gallagher in the

Officer Vappie matter. 313 More broadly, the City also concedes it historically has not

complied with its notification obligations.314

        With respect to the Officer Vappie investigation, the City’s witnesses contend there

was no complainant to notify since the matter was “rank initiated.” 315 As a purely

technical matter, the City is correct that there is no complainant to notify in a rank-



310 R. Doc. 752 (Transcript) at 288.
311 R. Doc. 752 (Transcript) at 57-58 (Court noting that “Whether the 30 days is reasonable or not, that you

can discuss with the parties, and you all might agree to change that date; but, that’s a different issue from
what the language means.”).
312 Consent Decree Paragraph 420.
313 R. Doc. 752 (Transcript) at 110. According to the City, there was no complainant to notify as the matter

was “rank initiated.”
314 R. Doc. 697 at 5-6.
315 R. Doc. 752 (Transcript) at 119, 123, and 194-195.




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initiated complaint. The City’s position is based on the difference between a complaint

from a citizen made directly to PIB versus a letter from a citizen to the City that alleges

misconduct and is subsequently forwarded to PIB. Nevertheless, in this case, the Court is

not persuaded by the City’s reasoning because there was a complainant, Lee Zurik.

          The Consent Decree makes clear NOPD is required “to accept all misconduct

complaints, including anonymous and third-party complaints, for review and

investigation.” 316 The source of the complaint is not relevant. The City’s witnesses

conceded an email may constitute a complaint.317 In this case, the City, and subsequently

PIB, received correspondence from a Fox8 journalist that alleged several instances of

misconduct by Officer Vappie.318 Following receipt of the Fox8 correspondence, a PIB

supervisor opened a “rank-initiated” investigation.319

          The PIB investigator who opened the Officer Vappie investigation conceded at the

hearing that Mr. Zurik’s email “gave genesis” to the complaint, “but [Mr. Zurik] did not

make a complaint.”320 The Court views this as splitting hairs. Regardless of the subject

line of Mr. Zurik’s correspondence or the label placed upon it by the City, PIB knew full

well that the email amounted to a complaint and that it had been initiated by a citizen,

albeit a citizen who is an investigative reporter. It would have taken little effort to apprise

Mr. Zurik of the status of his complaint as contemplated by Paragraph 420 of the Consent

Decree. PIB, however, made no effort to keep Mr. Zurik, the complainant, apprised of the

status.




316 Consent Decree Paragraph    389.
317 R. Doc. 753 (Transcript) at 43, 52; R. Doc. 754 (Transcript) at 68.
318 R. Doc. 747-1 at 10-13.
319 See R. Doc. 747-1 at 1 (the “R” in PIB CTN# 2022-0513-R indicated a rank-initiated complaint).
320 R. Doc. 752 (Transcript) at 97 and 111.




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        The Court would understand if PIB simply made a mistake here due to the atypical

vehicle of Mr. Zurik’s complaint (i.e., the complaint coming in as a media request versus

a typical complaint). But the City has not conceded it made a mistake. To the contrary,

the City contends it did the right thing by labeling the complaint as rank-initiated and not

keeping Mr. Zurik apprised. Apparently, the City intends to follow the same approach into

the future. Moreover, the failure to keep the complainant advised is not an isolated

incident. In its May 3, 2023 Special Report on PIB, the Monitor explained its recent audit

of PIB’s compliance with Paragraph 420 of the Consent Decree as follows:

                 To assess compliance with Paragraph 420, the Monitoring
                 Team audited a sample of 2022 and early 2023 administrative
                 investigations with a specific focus on start and end dates, and
                 the dates correspondence with shared with the complainant.
                 Our audit revealed that NOPD is NOT yet in compliance with
                 its Paragraph 420 obligations. Specifically, in 10% of the cases
                 we reviewed, the complainant was not kept informed of the
                 investigation process or progress. Further, in 24% of the cases
                 we reviewed, the complainant was not informed of the result
                 of the investigation within 10 days of the conclusion of the
                 investigation.321

While the City asserts there was no violation in the context of the Officer Vappie

investigation (for the reasons cited above), neither the City nor its witnesses take issue

with the Monitor’s overall finding of ongoing noncompliance more generally.

        In summary, the Court finds the City has not presented evidence contradicting the

Monitor’s and DOJ’s assertions that the City violated paragraph 403 and 420 in the

context of the Officer Vappie investigation, and the City continues to be in non-

compliance with both paragraphs more generally.




321 R. Doc. 694 at 32 (Ex. 25).




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                 4.       The Superintendent        is   Required     to   Sign    the   PIB
                          Investigation Report.

          In its initial analysis of the PIB investigation of Officer Vappie, the Monitor

commented that “Deputy Chief Sanchez and Interim Superintendent Michelle Woodfork

reviewed and concurred with the investigators’ findings on March 16, 2023, as reflected

in the signature block of the PIB report . . . .”322 NOPD took issue with this comment,

noting that, despite a signature appearing on the Superintendent’s signature line of the

PIB investigation report, the Superintendent did not review or sign the report.323 NOPD

explained it this way:

                 This recommendation form/document allows for two final
                 signatures, the Deputy Superintendent of the Public Integrity
                 Bureau and the Superintendent of Police. As a matter-of-
                 sequence, the Deputy Superintendent signs in their official
                 capacity, and then signs “for” the Superintendent. While this
                 practice is loosely described in old policies and is subject to
                 various interpretations, we are reviewing to determine its
                 utility at this stage. However, in the Officer Vappie
                 investigation, this process was continued.324

NOPD goes on to assert that “Superintendent Michelle M. Woodfork did not review this

investigation, nor did she sign acknowledging that she did at this phase.”325

          This practice, which according to NOPD, is “loosely described in old policies and is

subject to various interpretations,” and apparently been going on for years,326 runs afoul

of the Consent Decree and of NOPD’s own policies.




322 R. Doc. 694 at 15 (Ex. 25).
323 R. Doc. 714-6 at 4.
324 Id.
325 Id.
326 R. Doc. 754 (Transcript) at 149.




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      The Monitor described it this way in its Special Report on the Officer Vappie

investigation:

             Consent Decree paragraph 416 provides as follows:

             416. The PIB commander shall accept the investigator’s
             recommended disposition and the Superintendent shall
             approve the disposition, unless the disposition is
             unsupported by a preponderance of the evidence or additional
             investigation is necessary to reach a reliable finding. Where
             the disposition is unsupported by a preponderance of the
             evidence, the PIB Commander may correct the disposition or
             order additional investigation, as necessary.

             Consent Decree ¶416 (emphasis added). This clear statement
             is consistent with NOPD’s misconduct investigation policy
             52.1.1, paragraph 105 of which states the following:

             105. The report shall conclude with the following format for
             each person in the investigator's chain of command, up to
             and including the Superintendent of Police:

             CONCUR I DO NOT CONCUR               Date:___________

             __________________________

             [rank and name of person in chain of command]
             [title and/or place of assignment]

             The date alongside each signature will be the date the reviewer
             signed the document, not the date appearing at the top of the
             report.

             NOPD Policy 52.1.1 at §105 (emphasis added).

             The “up to and including” language is clear. But even if it were
             not clear, paragraph 136 of the same policy makes the same
             point:

             136. Once the Deputy Superintendent of PIB has approved the
             disposition of an investigation conducted by PIB, the
             investigation disposition shall be transmitted to the
             Superintendent of Police for review and final
             approval. For those investigations conducted by a bureau
             other than PIB, the Deputy Superintendent of PIB’s review
             concludes the investigation.



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                 Id. at §136 (emphasis added). Nothing in Policy 52.1.1 is
                 unclear. And even if there were, as NOPD suggests, “old
                 policies” “subject to various interpretations” that “loosely
                 describe” NOPD’s current practice of the superintendent not
                 reviewing and signing PIB reports, such policies clearly have
                 been superseded by the Department’s current policy, which
                 was reviewed and approved by the Monitoring Team and the
                 DOJ.327

        The Court agrees with the Monitor’s identification and reading of the relevant

Consent Decree provisions and NOPD policies. NOPD’s current practice clearly does not

comport with the Consent Decree or with current policy.

        The Court recognizes, though, that the current NOPD practice has been in place

for years328 without, as far as this Court can tell, complaint from the Monitor, the OIPM,

or the DOJ. While that does not excuse a non-compliance by NOPD, it does suggest that

perhaps the current practice is more sensible than the current policy.

        The Consent Decree provides a vehicle for modifying policies and the Consent

Decree itself.329 The Court recommends NOPD avail itself of that process promptly. If the

City can show that a different process from the one set forth in the Consent Decree (and

NOPD policy) better serves the needs of the NOPD and the community, this Court is

confident the City will find a receptive ear in the Monitor, the DOJ, and the OIPM.330

                                              CONCLUSION

        The City violated the Consent Decree in the course of the Officer Vappie

investigation. The City also has failed to show cause why it should not be found to have




327 R. Doc. 714 at 13 (Ex. 26).
328 See, e.g., R. Doc. 752 (Transcript) at 165.
329 Consent Decree Paragraph 487.
330 To the extent the City does move this Court to modify the Consent Decree to change the timing of the

Superintendent’s review and signature, the City should note that an exception must be made for cases of
serious misconduct, which pursuant to Paragraph 454 of the Consent Decree require earlier Superintendent
involvement than in more routine matters.


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violated Paragraphs 399, 415, 414, 413, 454, 470, 472, 409, 419, 306, and 313 of the

Consent Decree having to do with the conduct of PIB investigations and Paragraphs 403

and 420 regarding timeliness of investigations, imposition of discipline, and notification

of complainants.

       The Court recognizes, however, that the City recently supplemented its prior filings

with a detailed and thoughtful Remedial Action Plan to remedy the violations found by

the Court prepared by newly confirmed Superintendent Anne Kirkpatrick. The Court

commends the Department for taking that step. Accordingly, the Court will defer its ruling

on the imposition of sanctions on the City for its violations of the paragraphs of the

Consent Decree noted above to give the City and NOPD an opportunity to remedy the

violations, as it now promises to do.

       The City is ordered to file in the record a monthly report, starting December 1,

2023, on its progress on the Remedial Action Plan.

       New Orleans, Louisiana, this 2nd day of November, 2023.


                                          ____________________ ________
                                                  SUSIE MORGAN
                                           UNITED STATES DISTRICT JUDGE




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